Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 1 of 143 Page ID #:3713



         Briar Siljander (SBN 338293)
     1
         TRIO LAW PLC
     2   376 Beach Farm Cir. #1269
     3   Highland, MI 48356
         (248) 529-6730
     4   briar@triolawplc.com
     5   Attorneys for Plaintiffs
                          UNITED STATES DISTRICT COURT
     6
                         CENTRAL DISTRICT OF CALIFORNIA
     7
                                  SOUTHERN DIVISION
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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 2 of 143 Page ID #:3714




    1    DANCE FITNESS MICHIGAN, LLC,                Case No: 8:23-cv-01643
         PROPERTY MAINTENANCE, INC.,                 JVS(JDEx)
    2    DEANNA ALFREDO, 6PK MASON LLC,
    3    6PK LIBERTY LLC, AMANDA DAVIS,
         TEENY TURNER LLC, NISHA MOELLER,            Honorable James V. Selna
    4    S2 FITNESS ENTERPRISES, LLC,
    5    SAMANTHA COX, SUZANNE FISCHER,
         SOROS & ASSOCIATES, LLC, NICHOLE
    6    SOROS, MICHAEL SOROS, ADEDGE
    7    SERVICES INC., PAUL DUMAS, JODI
         DUMAS, and LAURA HANNAN,                    SECOND AMENDED
    8                   Plaintiffs,                  COMPLAINT
    9              vs.

   10    AKT FRANCHISE, LLC, AKT FRANCHISE
   11    SPV, LLC, XPONENTIAL FITNESS LLC,
         XPONENTIAL INTERMEDIATE
   12    HOLDINGS LLC, XPONENTIAL FITNESS,
   13    INC., XPOF ASSETCO, LLC, H&W
         FRANCHISE INTERMEDIATE HOLDINGS
   14    LLC, ANTHONY GEISLER, MARK
   15    GRABOWSKI, BRENDA MORRIS,
         MELISSA CHORDOCK, ELIZABETH “LIZ”
   16    BATTERTON COOPER, ALEXANDER
   17    CORDOVA, LANCE FREEMAN, RYAN
         JUNK, MEGAN MOEN, JOHN MELOUN,
   18    SARAH LUNA, TORI JOHNSTON, JUSTIN
   19    LACAVA, BOBBY TETSCH, BRANDON
         WILES, JASON LOSCO, BRITTNEY
   20    HOLOBINKO, AMY WEHRKAMP, SCOTT
   21    SVILICH, SARAH NOLAN, EMILY
         BROWN, RACHEL MARKOVIC, LAG FIT,
   22    INC., H&W INVESTCO LP, H&W
   23    INVESTCO II LP, MGAG LLC and DOES 1
         through 10, inclusive,
   24                       Defendants.
   25
              Plaintiffs, DANCE FITNESS MICHIGAN, LLC, a Michigan limited liability
   26
   27 company, PROPERTY MAINTENANCE, INC., a Michigan corporation,
   28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 3 of 143 Page ID #:3715




    1 DEANNA ALFREDO (“Deanna”), AMANDA DAVIS (“Amanda”), 6PK MASON
    2 LLC, an Ohio limited liability company, 6PK LIBERTY LLC, an Ohio limited
    3
        liability company, NISHA MOELLER (“Nisha”), TEENY TURNER LLC, an
    4
    5 Illinois limited liability company, SAMANTHA COX (“Samantha”), SUZANNE
    6 FISCHER (“Suzie”), S2 FITNESS ENTERPRISES, LLC, a Georgia limited
    7
      liability company,  NICHOLE SOROS (“Nichole”), MICHAEL SOROS
    8
    9 (“Michael”), SOROS & ASSOCIATES, LLC, a Florida limited liability company,
   10 PAUL DUMAS (“Paul”), JODI DUMAS (“Jodi”), ADEDGE SERVICES INC., a
   11
      Florida corporation, and Laura Hannan (“Laura” and collectively, “Plaintiffs”) by
   12
   13 and through its counsel, Trio Law PLC, hereby file this Complaint against
   14 Defendants, AKT FRANCHISE, LLC (“AKT Franchisor”), AKT FRANCHISE
   15
      SPV, LLC (“AKT Franchisor SPV”), XPONENTIAL FITNESS LLC
   16
   17 (“Xponential”), XPONENTIAL INTERMEDIATE HOLDINGS LLC (“Xpo
   18   Holdings”), LAG FIT, INC. (“Lag Fit”), H&W INVESTCO LP (“H&W Investco”),
   19
        H&W INVESTCO II LP (“H&W Investco II”), MGAG LLC, (“MGAG”),
   20
   21 XPONENTIAL FITNESS, INC. (“Xpo Inc.,” and collectively with AKT
   22 Franchisor, AKT Franchisor SPV, Xponential, Xpo Holdings, Lag Fit, H&W
   23
      Investco, H&W Investco II, and MGAG, the “Corporate Defendants”), ANTHONY
   24
   25 GEISLER (“Geisler”), ELIZABETH “LIZ” BATTERTON COOPER (“Cooper”),
   26 BRENDA MORRIS (“Morris”), MELISSA CHORDOCK (“Chordock”),
   27
      ALEXANDER CORDOVA (“Cordova”), LANCE FREEMAN (“Freeman”),
   28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 4 of 143 Page ID #:3716




    1 MARK GRABOWSKI (“Grabowski”), RYAN JUNK (“Junk”), MEGAN MOEN
    2 (“Moen”), JOHN MELOUN (“Meloun”), SARAH LUNA (“Luna”), TORI
    3
        JOHNSTON (“Johnston”), JUSTIN LACAVA (“LaCava”), BOBBY TETSCH
    4
    5 (“Tetsch”), BRANDON WILES (“Wiles”), JASON LOSCO (“Losco”),
    6 BRITTNEY HOLOBINKO (“Holobinko”), AMY WEHRKAMP (“Wehrkamp”),
    7
      SCOTT SVILICH (“Svilich”) SARAH NOLAN (“Nolan”), EMILY BROWN
    8
    9 (“Brown”), and RACHEL MARKOVIC (“Markovic” and collectively with Geisler,
   10 Cooper, Morris, Chordock, Cordova, Freeman, Grabowski, Junk, Moen, Meloun,
   11
      Luna, Johnston, LaCava, Tetsch, Wiles, Losco, Holobinko, Wehrkamp, Svilich,
   12
   13 Nolan, and Brown, the “Individual Defendants”), alleging as follows:
   14                             NATURE OF THIS ACTION
   15
        1. Plaintiffs are seven former franchisees of the AKT fitness brand, all of whom
   16
   17      were forced to close their franchised studios after spending between $800,000
   18      and more than $2 million developing franchised studios as a direct result of
   19
           material misrepresentations made by their franchisor, AKT Franchisor, and its
   20
   21      directors, officers, employees, and agents. Plaintiffs bought into the Xponential
   22      façade and were financially annihilated by the reality behind the façade.
   23
        2. From the beginning, AKT leadership (as well as the leadership of its ultimate
   24
   25      parent, Xponential, Inc.) repeated false representations that Plaintiffs would have
   26      300 studio members by their grand opening and told Plaintiffs the membership
   27
           rates Plaintiffs would charge their members, effectively providing the monthly
   28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 5 of 143 Page ID #:3717




    1      gross revenues that Plaintiffs would earn at their studios. All of this was done at

    2      and prior to each Plaintiff’s discovery day and was intended to induce Plaintiffs
    3
           to sign franchise agreements and area development agreements with AKT
    4
    5      Franchisor. The numbers were never achieved by Plaintiffs and, upon

    6      information and belief, were not achieved, and certainly not maintained, by any
    7
           other AKT studio, whether franchisee- or corporate-run.
    8
    9 3. Similarly, AKT Franchisor and several Defendants grossly misrepresented (in
   10      their FDD and elsewhere) the cost that Franchisees would expend to open their
   11
           studios, in almost every case by hundreds of thousands of dollars. Defendants
   12
   13      also misrepresented the time it would take to open the studios, representing they
   14      would be open and generating the represented revenues within twelve weeks of
   15
           the signing of franchise agreements. In reality, the time to open was twelve
   16
   17      months or more.
   18 4. As AKT Franchisor began franchising in late 2018, AKT Franchisor, Geisler,
   19
         Grabowski, and Xponential were in active disputes with Anna Kaiser, the face
   20
   21      and namesake of the AKT franchise. Defendants concealed from Plaintiffs their
   22      disputes with Anna Kaiser, touting her celebrity involvement in the brand even
   23
           while Anna Kaiser alleged that AKT Franchisor and Xponential ceased paying
   24
   25      Anna Kaiser as required under their contracts with her. Without Anna Kaiser’s
   26      involvement, the franchise system had no brand recognition.
   27
   28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 6 of 143 Page ID #:3718




    1 5. Plaintiffs, having been promised a turnkey business with experienced leadership,
    2      all soon discovered there was no system and Xponential’s leadership had no
    3
           answers to Plaintiffs’ inability to achieve the member numbers that they were
    4
    5      told they would achieve and, in turn, the gross revenue they expected. These

    6      problems were not unique to Plaintiffs, but existed across the brand. Of 30
    7
           original franchisees in 2018 and 2019, it appears at best 7 remain in the AKT
    8
    9      system. Plaintiffs were not anomalies either. Indeed, Plaintiffs were regularly

   10      promoted to other franchisees as the operators to emulate. For example, Detroit
   11
           Franchisees were named Franchisee of the Year three times.
   12
   13 6. Yet, despite following AKT Franchisor’s directions precisely and trying every
   14      strategy and approach to make their AKT studios succeed, Plaintiffs continued
   15
           to lose thousands and tens of thousands of dollars each month, finally requiring
   16
   17      them to close their studios.
   18 7. When Plaintiffs (except Laura) closed their respective AKT studios (after, in
   19
         each case, offering AKT Franchisor to take over the studio), AKT Franchisor
   20
   21      and Xponential filed suit against all of Plaintiffs (except East Florida Franchisee
   22      and its operators, Paul and Jodi) in arbitration to send a message to them and
   23
           make an example to other franchisees. While those arbitrations were withdrawn,
   24
   25      AKT Franchisor has now filed those claims as counterclaims in this action.
   26      Plaintiffs in this lawsuit challenge the enforceability of the arbitration provisions
   27
           and seeking redress for the multitude of misrepresentations made by Defendants.
   28

                                                   6
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 7 of 143 Page ID #:3719




    1                                     THE PARTIES

    2 8. Plaintiff Property Maintenance, Inc. (“Royal Oak Franchisee”) is a Michigan
    3
           corporation with its principal place of business in Bloomfield Hills, Michigan.
    4
    5 9. Plaintiff Dance Fitness Michigan, LLC (“Rochester Hills Franchisee”; together
    6      with Royal Oak Franchisee, “Detroit Franchisees”) is a Michigan limited
    7
           liability company with its principal place of business in Rochester Hills,
    8
    9      Michigan.

   10 10.Plaintiff Deanna is domiciled in Michigan.
   11
      11.Plaintiff 6PK Mason LLC (“Mason Franchisee”) is an Ohio limited liability
   12
   13    company with its principal place of business in Mason, Ohio.
   14 12.Plaintiff 6PK Liberty LLC (“Liberty Franchisee”; together with Mason
   15
         Franchisee, “Ohio Franchisees”) is an Ohio limited liability company with its
   16
   17    principal place of business in Liberty Township, Ohio.
   18 13.Plaintiffs Amanda is domiciled in Ohio.
   19
      14.Plaintiff Teeny Turnery LLC (“Chicago Franchisee”) is an Illinois limited
   20
   21      liability company with its principal place of business in Chicago, Illinois.
   22 15.Plaintiff Nisha is domiciled in Illinois.
   23
      16.Plaintiff S2 Fitness Enterprises, LLC (“Inman Park Franchisee”) is a Georgia
   24
   25      limited liability company with its principal place of business in Atlanta, Georgia.
   26 17.Plaintiff Samantha is domiciled in Georgia.
   27
      18.Plaintiff Suzie is domiciled in Georgia.
   28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 8 of 143 Page ID #:3720




    1 19.Plaintiff Soros & Associates (“Tampa Franchisee”) is a Florida limited liability
    2      company with its principal place of business in Tampa, Florida.
    3
        20.Plaintiff Nichole is domiciled in Florida.
    4
    5 21.Plaintiff Michael is domiciled in Florida.
    6 22.Plaintiff AdEdge Services Inc. (“East Florida Franchisee;”) is a Florida
    7
         corporation with its principal place of business in Fort Lauderdale, Florida.
    8
    9 23.Plaintiff Paul is domiciled in Florida.
   10 24.Plaintiff Jodi is domiciled in Florida.
   11
      25.Plaintiff Laura (together with Detroit Franchisee, Mason Franchisee, Liberty
   12
   13    Franchisee, Nisha, Inman Park Franchisee, Tampa Franchisee, and East Florida
   14      Franchisee, “Franchisees”) is domiciled in New Jersey.
   15
        26.Defendant XPONENTIAL FITNESS, INC. (“Xpo Inc.”), is a publicly traded
   16
   17      Delaware corporation with its principal place of business at 17877 Von Karman
   18      Ave., Suite 100, Irvine, Orange County, California (“Xponential Corporate
   19
           Office”).
   20
   21 27.Upon information and belief, Defendant XPONENTIAL INTERMEDIATE
   22      HOLDINGS LLC, is a Delaware limited liability company with its principal
   23
           place of business at the Xponential Corporate Office.
   24
   25 28.Upon information and belief, Defendant XPONENTIAL FITNESS LLC, is a
   26      Delaware limited liability company with its principal place of business at the
   27
           Xponential Corporate Office.
   28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 9 of 143 Page ID #:3721




    1 29.Upon information and belief, Defendant XPOF ASSETCO, LLC, is a Delaware
    2      limited liability company with its principal place of business at the Xponential
    3
           Corporate Office.
    4
    5 30.Defendant AKT FRANCHISE, LLC, is a Delaware limited liability company
    6      with its principal place of business at the Xponential Corporate Office.
    7
        31.Defendant AKT FRANCHISE SPV, LLC, is a Delaware limited liability
    8
    9      company with its principal place of business at the Xponential Corporate Office.

   10 32.Upon information and belief, Defendant XPONENTIAL INTERMEDIATE
   11
         HOLDINGS LLC, is a Delaware limited liability company with its principal
   12
   13    place of business at the Xponential Corporate Office.
   14 33.Upon information and belief, Defendant XPONENTIAL INTERMEDIATE
   15
         HOLDINGS LLC, a Delaware limited liability company with its principal place
   16
   17    of business at the Xponential Corporate Office.
   18 34.Upon information and belief, Defendant LAG FIT Inc., a Delaware corporation
   19
         with its principal place of business at the Xponential Corporate Office.
   20
   21 35.Upon information and belief, Defendant MGAG LLC, a Connecticut limited
   22      liability company corporation with its principal place of business at the
   23
           Xponential Corporate Office.
   24
   25 36. Upon information and belief, Defendant H&W Investco LP, a limited
   26      partnership whose citizenship is unknown. with its principal place of business at
   27
           the Xponential Corporate Office.
   28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 10 of 143 Page ID
                                 #:3722



  1 37.Upon information and belief, Defendant H&W Investco II LP, a limited
  2     partnership whose citizenship is unknown with its principal place of business at
  3
        the Xponential Corporate Office.
  4
  5 38.Defendant Geisler is domiciled in orange County, California, and conducts or
  6     conducted business relating to the allegations in this complaint at the Xponential
  7
        Corporate Office in Orange County, California.
  8
  9 39.Upon information and belief, Defendant Cooper conducts or conducted business
 10     relating to the allegations in this complaint at the Xponential Corporate Office.
 11
      40.Upon information and belief, Defendant Chordock conducts business at the
 12
 13     Xponential Corporate Office.
 14 41. Upon information and belief, Defendant Morris is domiciled in the greater
 15
       Seattle area, California.
 16
 17 42.Upon information and belief, Defendant Cordova is domiciled in Orange
 18     County, California, and conducts or conducted business relating to the
 19
        allegations in this complaint at the Xponential Corporate Office.
 20
 21 43.Upon information and belief, Defendant Freeman is domiciled in Orange
 22     County, California, conducts or conducted business relating to the allegations
 23
        in this complaint at the Xponential Corporate Office.
 24
 25 44.Upon information and belief, Defendant Grabowski conducts or conducted
 26     business relating to the allegations in this complaint at the Xponential Corporate
 27
        Office.
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 11 of 143 Page ID
                                 #:3723



  1 45.Upon information and belief, Defendant Junk conducts or conducted business
  2      relating to the allegations in this complaint at the Xponential Corporate Office.
  3
      46.Upon information and belief, Defendant Moen conducts or conducted business
  4
  5      relating to the allegations in this complaint at the Xponential Corporate Office.

  6 47.Upon information and belief, Defendant Meloun conducts or conducted business
  7
       relating to the allegations in this complaint at the Xponential Corporate Office.
  8
  9 48.Upon information and belief, Defendant Luna conducts or conducted business
 10      relating to the allegations in this complaint at the Xponential Corporate Office.
 11
      49.Upon information and belief, Defendant Johnston is domiciled in Orange
 12
 13      County, California, and conducts or conducted business relating to the
 14      allegations in this complaint at the Xponential Corporate Office.
 15
      50.Upon information and belief, Defendant LaCava conducts or conducted business
 16
 17      relating to the allegations in this complaint at the Xponential Corporate Office.
 18 51.Upon information and belief, Defendant Tetsch is domiciled in Orange County,
 19
       California.
 20
 21 52.Upon information and belief, Defendant Wiles is domiciled in Orange County,
 22      California.
 23
      53.Upon information and belief, Defendant Losco conducts business in Orange
 24
 25      County, California, and conducts or conducted business relating to the
 26      allegations in this complaint at the Xponential Corporate Office.
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 12 of 143 Page ID
                                 #:3724



  1 54.Upon information and belief, Defendant Holobinko conducts or conducted
  2      business relating to the allegations in this complaint at the Xponential Corporate
  3
         Office.
  4
  5 55.Upon information and belief, Defendant Wehrkamp conducts or conducted
  6      business relating to the allegations in this complaint at the Xponential Corporate
  7
         Office.
  8
  9 56.Upon information and belief, Defendant Svilich conducts or conducted business
 10      relating to the allegations in this complaint at the Xponential Corporate Office.
 11
      57.Upon information and belief, Defendant Nolan conducts or conducted business
 12
 13      relating to the allegations in this complaint at the Xponential Corporate Office.
 14 58.Upon information and belief, Defendant Brown conducts or conducted business
 15
       relating to the allegations in this complaint at the Xponential Corporate Office.
 16
 17 59.Upon information and belief, Defendant Markovic conducts or conducted
 18      business relating to the allegations in this complaint at the Xponential Corporate
 19
         Office.
 20
 21 60.Upon information and belief, all Individual Defendants are currently, or were
 22      during the events described in this Complaint, employees of one or more of the
 23
         Corporate Defendants.
 24
 25 61.The fictitious Defendants, DOES 1 through 10, inclusive, are sued pursuant to
 26      California Civil Procedure Code section 474. Plaintiffs are ignorant of the true
 27
         names and capacities, whether individual, corporate, or otherwise, of such
 28

                                               12
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 13 of 143 Page ID
                                 #:3725



  1      fictitious Defendants. Upon information and belief, each such fictitious

  2      Defendant was in some way responsible for, participated in, and/or contributed
  3
         to the misconduct alleged against Plaintiffs as set forth herein. When Plaintiffs
  4
  5      ascertains the true names of such fictitious Defendants and their respective

  6      responsibility, for participation in and contribution to the misconduct alleged
  7
         herein, Plaintiffs will seek leave to amend this complaint to designate same.
  8
  9                                JURISDICTION AND VENUE

 10 62.Plaintiffs incorporate the allegations contained in the preceding paragraphs as if
 11
       fully restated herein.
 12
 13 63.The amount in controversy exceeds $25,000 and this matter is within the
 14      jurisdiction of the Superior Court of California. Plaintiffs continue to object to
 15
         this Court’s subject matter jurisdiction because Defendants have not properly
 16
 17      asserted diversity jurisdiction exists.
 18 64.Each of the Defendants is subject to personal jurisdiction in California because
 19
       each is domiciled there and/or each purposefully established contacts with
 20
 21      California in their employment and agency with Xponential and AKT Franchisor
 22      and Plaintiffs’ actions arise out of and relate to Defendants’ contacts with
 23
         California.
 24
 25 65.Venue is proper in this Court because several Defendants, including Xponential,
 26      AKT Franchisor, and Geisler reside in Orange County, California.
 27
                                 FACTUAL ALLEGATIONS
 28

                                                   13
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 14 of 143 Page ID
                                 #:3726



  1                   Structure of Defendants’ Entities and Operations

  2 66.Plaintiffs incorporate the allegations contained in the preceding paragraphs as if
  3
       fully restated herein.
  4
  5 67.Xpo Inc. purports to be “the largest global franchise group of boutique fitness
  6
         brands.”
  7
  8 68.Xpo Inc. is the ultimate parent company of ten franchised fitness brands,
  9      including AKT, Pure Barre, Yoga Six, Row House, Stride, Rumble, Stretch Lab,
 10
         CycleBar, Club Pilates, and BFT (Body Fit Training).
 11
 12 69.Xpo Inc. is traded publicly on the New York Stock Exchange.
 13
      70.Xpo Holdings and Xponential are subsidiaries of Xpo Inc., and are intermediate
 14
 15      entities between Xpo Inc. and the franchising entity defendants, AKT Franchisor
 16
         and AKT Franchisor SPV.
 17
 18 71.In March 2023, Xpo Inc. initiated an internal restructuring, creating new entities
 19      through which it franchised its ten brands, and transferring the trademarks and
 20
         intellectual property of the old franchising entities to new special purpose
 21
 22      vehicles.
 23
      72.In the case of AKT, Xpo Inc. ceased selling franchises through AKT Franchisor
 24
 25      and began selling AKT franchises through AKT Franchisor SPV.
 26
      73.In the restructuring, Xpo Inc. created a new direct parent company to AKT SPV
 27
 28

                                              14
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 15 of 143 Page ID
                                 #:3727



  1     Franchisor – XPOF Assetco – which purports to guarantee the obligations of

  2     AKT Franchisor SPV, and which means AKT Franchisor SPV is no longer
  3
        required to disclose its financial statements in its franchise disclosure document.
  4
  5 74.The franchise agreements and area development agreements between AKT
  6
        Franchisor and the respective Plaintiffs remain between the respective Plaintiffs
  7
  8     and AKT Franchisor.
  9             The AKT Brand and Anna Kaiser’s Purported Involvement
 10
      75.Anna Kaiser, a celebrity fitness trainer based in New York City, New York,
 11
 12     created the “Anna Kaiser Technique,” called “AKT” for short – a dance fitness
 13
        concept with sessions and classes choreographed by Anna Kaiser.
 14
 15 76.AKT Franchisor acquired the AKT brand and concept from Anna Kaiser on
 16
        approximately March 22, 2018.
 17
 18 77.As part of the transaction, AKT Franchisor entered into a consulting agreement
 19     with Anna Kaiser under which AKT Franchisor agreed to pay Anna Kaiser
 20
        $250,000 per year.
 21
 22 78.Not long after, AKT Franchisor began to offer and sell AKT franchises.
 23
      79.From the beginning, AKT Franchisor and its representatives promoted Anna
 24
 25     Kaiser as the face of the AKT brand, touting her celebrity connections with the
 26
        likes of Shakira and Kelly Ripa.
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 16 of 143 Page ID
                                 #:3728



  1 80.AKT Franchisor and its representatives made broad claims about Anna Kaiser’s
  2      involvement in the franchise, stating she was involved in leadership and strategic
  3
         decision-making and that she would be creating and choreographing all the
  4
  5      content Plaintiffs would use in classes at their franchise studios.
  6
      81.AKT Franchisor and its representatives represented to many of Plaintiffs that
  7
  8      Anna Kaiser would attend their grand opening and otherwise participate in pop-
  9      up classes and other marketing initiatives.
 10
      82.Indeed, Anna Kaiser, AKT Franchisor represented, would operate three studios
 11
 12      as an AKT franchisee, and so would be involved both on the corporate franchisor
 13
         side and on the franchisee side.
 14
 15 83.In short Anna Kaiser was the AKT brand and Plaintiffs were sold on AKT
 16
         because of the involvement that AKT Franchisor represented Anna Kaiser had
 17
 18      and would continue to have in the franchise system.

 19       Representations Regarding Initial Members, Rates, Revenues and Opening
 20
      84.AKT Franchisor made several representations to Plaintiffs at and prior to
 21
 22      discovery day (prior to the time Plaintiffs signed their respective franchise
 23
         agreements and area development agreements).
 24
 25 85.At and prior to the respective discovery days attended by Plaintiffs, AKT
 26
         Franchisor told Plaintiffs that they would expect 100 members at their studio
 27
 28

                                               16
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 17 of 143 Page ID
                                 #:3729



  1      prior to opening a studio (referred to by AKT Franchisor as “pre-opening”), 200

  2      members during “soft opening” (the period between opening of the studio and
  3
         the grand opening event), and 300 members by their grand opening event, with
  4
  5      additional continuing growth thereafter.
  6
      86. Also prior to and at discovery day, AKT Franchisor told Plaintiffs the amount
  7
  8      they would be charging members for monthly memberships, and provided it to
  9      Plaintiffs in a pro forma.
 10
      87. AKT Franchisor represented to Plaintiffs that their studios would be open and
 11
 12      operating four to eight weeks after executing a lease, with grand opening
 13
         occurring within twelve weeks of executing a lease. AKT Franchisor said this
 14
 15      was because of its experienced team and turn-key system.
 16
      88. By multiplying the number of members AKT Franchisor represented they
 17
 18      would have by the monthly fee AKT Franchisor said they would charge their

 19      members, Plaintiffs were easily able to develop gross revenue projections for
 20
         their anticipated studios.
 21
 22                 Representations Regarding Initial Investment and Costs
 23
      89.In its franchise disclosure documents in 2018, 2019, and 2020, AKT Franchisor
 24
 25      made a representation regarding the range of Plaintiffs’ estimated initial
 26
         investment to begin operating an AKT franchise studio. For 2018, the range was
 27
 28

                                              17
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 18 of 143 Page ID
                                 #:3730



  1      $346,100 to $487,000; for 2019, the range was $356,600 to $497,500; and for

  2      2020, the range was $320,616 to $495,516.
  3
      90.AKT Franchisor represented that it estimated 70-95% of these startup costs
  4
  5      would be from “Approved Suppliers and purchases that must meet our
  6
         specifications.”
  7
  8 91.AKT Franchisor’s representatives affirmed these representations during and
  9      prior to discovery day and qualified that the higher end of the range was not
 10
         applicable to Plaintiffs’ studios based on their markets and locations.
 11
 12         Franchise Agreements and Area Development Agreements at Issue
 13
      92. AKT Franchisor entered into the following franchise agreements (collectively,
 14
 15       “Franchise Agreements” and each a “Franchise Agreement”) and area
 16
          development agreements (collectively, “Area Development Agreements” and
 17
 18       each an “Area Development Agreement”; Area Development Agreements

 19       together with Franchise Agreements, “Agreements”) with the respective
 20
          Plaintiffs:
 21
 22            a. Area Development Agreement with Royal Oak Franchisee dated
 23
                  September 12, 2018.
 24
 25            b. Franchise Agreement with Royal Oak Franchisee dated September 12,
 26
                  2018.
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 19 of 143 Page ID
                                 #:3731



  1           c. Franchise Agreement with Rochester Hills Franchisee dated June 26,

  2              2019.
  3
              d. Area Development Agreement with Amanda dated June 7, 2019.
  4
  5           e. Franchise Agreement with Liberty Franchisee dated June 7, 2019.
  6
              f. Franchise Agreement with Mason Franchisee dated approximately
  7
  8              January 2020
  9           g. Franchise Agreement with Nisha dated February 4, 2020.
 10
              h. Area Development Agreement with Inman Park Franchisee dated June
 11
 12              4, 2019.
 13
              i. Franchise Agreement with Inman Park Franchisee dated March 21,
 14
 15              2019.
 16
              j. Area Development Agreement with Tampa Franchisee dated February
 17
 18              24, 2021.

 19           k. Franchise Agreement with Tampa Franchisee dated February 27, 2021.
 20
              l. Area Development Agreement with East Florida Franchisee dated June
 21
 22              12, 2020.
 23
              m. Franchise Agreement with East Florida Franchisee dated June 9, 2020.
 24
 25           n. Franchise Agreement with East Florida Franchisee dated December
 26
                 31, 2020.
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 20 of 143 Page ID
                                 #:3732



  1            o. Franchise Agreement with East Florida Franchisee dated September

  2               30, 2021.
  3
               p. Area Development Agreement with Laura dated December 14, 2019.
  4
  5            q. Franchise Agreement with Laura dated December 14, 2019.
  6
                               Leases and Buildout of Studios
  7
  8 93. After execution of their respective Agreements with AKT Franchisor,
  9       Plaintiffs began in earnest to prepare to open their respective franchise studios.
 10
      94. Plaintiffs learned that the AKT franchise system was not the “turn-key” system
 11
 12       advertised by Geisler, Chordock, and other AKT personnel.
 13
      95. AKT Franchisor required Plaintiffs to use a lawyer specified by AKT
 14
 15       Franchisor to negotiate their lease.
 16
      96. AKT Franchisor’s real estate personnel took longer than represented to find
 17
 18       locations AKT Franchisor stated were suitable for the studios.

 19 97. When leases were finally executed, Plaintiffs began the buildout of their
 20
        studios. Plaintiffs soon discovered the studio buildout process was mired by
 21
 22       incompetence and delay of AKT Franchisor personnel and third party suppliers
 23
          and vendors AKT Franchisor required Plaintiffs to use.
 24
 25 98. During the buildout time, Plaintiffs had already begun to expend funds, hiring
 26
          staff and advertising as directed by AKT Franchisor.
 27
 28

                                                 20
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 21 of 143 Page ID
                                 #:3733



  1 99. Contrary to AKT’s representations that Plaintiffs would be operating their
  2       studios four to eight weeks after signing their Franchise Agreements and that
  3
          their grand opening would occur within twelve weeks of signing their
  4
  5       Franchise Agreements, it was approximately twelve months before Plaintiffs’
  6
          studios reached grand opening.
  7
  8 100. Anthony Geisler ultimately admitted that the AKT team was inadequate,
  9       stating he hired whom he could get because AKT was a startup and “start ups
 10
          do not attract talent.”
 11
 12                Separation From Anna Kaiser and Ensuing Litigation
 13
      101. Almost from the outset, Geisler, Grabowski, Xponential, and AKT Franchisor
 14
 15       began feuding with Anna Kaiser and ultimately ceased paying her as required
 16
          under her consulting agreement.
 17
 18 102. Having actively promoted Anna Kaiser, by which means Defendants
 19       convinced Plaintiffs to execute the Agreements, Geisler, Grabowski,
 20
          Xponential, and AKT Franchisor engaged in scorched-earth conflict of egos
 21
 22       litigation against Anna Kaiser to the detriment of the AKT franchise system.
 23
      103. All the while, Defendants pretended all was well with Anna Kaiser and did not
 24
 25       disclose the disputes and lawsuits, nor the fact that, because they had ceased
 26
          paying Anna Kaiser under her consulting agreement, she was no longer
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 22 of 143 Page ID
                                 #:3734



  1       providing content for franchisee classes and was instead beginning to operate

  2       her own Anna Kaiser Studios brand.
  3
      104. While Plaintiffs struggled to launch their studios with minimal support from
  4
  5       AKT Franchisor and Xponential, Xponential spent well over three million
  6
          dollars in legal fees litigating against Anna Kaiser, money that could have been
  7
  8       better spent easing the impact of under-stated buildout costs and reducing the
  9       percentage markup on required purchases by franchisees.
 10
                                     Operation of Studios
 11
 12   105. Plaintiffs were required to follow the operational and marketing directives of
 13
            AKT Franchisor.
 14
 15   106. Following AKT Franchisor’s methods, Plaintiffs could not achieve, let alone
 16
            sustain, the membership numbers represented by AKT Franchisor.
 17
 18   107. Membership attrition outpaced new member signups and Plaintiffs soon

 19         found themselves operating studios that were losing thousands of dollars per
 20
            month and, in some cases, more than $25,000 per month.
 21
 22   108. Leadership at AKT Franchisor and Xponential had no solutions to the
 23
            problems with the franchise system raised by Plaintiffs, with AKT
 24
 25         Franchisor’s President, Chordock, often simply ignoring the issues raised and
 26
            requests for help from Plaintiffs.
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 23 of 143 Page ID
                                 #:3735



  1   109. Instead, Xponential announced two new programs: 1) XPASS – a program

  2        which competed with Plaintiffs’ studios for members by providing the same
  3
           members the ability to purchase from Xponential directly a similarly-priced
  4
  5        membership that allowed them to attend classes at all Xponential brand
  6
           studios, including Plaintiffs’ studios; and 2) AKT Go (later named XPlus) –
  7
  8        an online option offering the same content and classes available in Plaintiffs’
  9        studios through an online, on-demand application.
 10
      110. When XPASS members attended Plaintiffs’ studios, they received minimal
 11
 12        compensation, often just a few dollars per member per class, a far cry from
 13
           the membership tier amounts represented to Plaintiffs to induce them to
 14
 15        become franchisees.
 16
      111. As XPASS was promoted by Xponential, Plaintiffs began to have even more
 17
 18        difficulty coaxing prospects to become members of their studios when they

 19        weighed the alternative of still having Plaintiffs’ studio classes available to
 20
           them (because Xponential and AKT Franchisor required participation by
 21
 22        Plaintiffs in XPASS), but being able to access the other Xponential modalities
 23
           for a similar monthly cost.
 24
 25                                  Closure of Studios
 26
      112. After months of operating their studios at significant losses (with most
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 24 of 143 Page ID
                                 #:3736



  1      Plaintiffs working full time without drawing compensation) and having

  2      exhausted cash reserves, most Plaintiffs were forced to close.
  3
      113. In each case, most Plaintiffs tried to determine whether AKT Franchisor
  4
  5      would repurchase their studios or at least take them over prior to their closure.
  6
      114. AKT Franchisor did not do so, waiting until after the studios closed to swoop
  7
  8      in and attempt to reopen the studios and make it appear to the public as if there
  9      was no closure.
 10
      115. In many instances, AKT Franchisor demanded Plaintiffs pay AKT Franchisor
 11
 12      to take over their studios (into which Plaintiffs had invested hundreds of
 13
         thousands of dollars), with the threat of suing Plaintiffs if they refused.
 14
 15 116. In the end, each of Plaintiffs’ AKT studios closed as follows:
 16
               a. Inman Park Franchisee closed its studio on May 30, 2022.
 17
 18            b. East Florida Franchisee closed its first studio October 16, 2022.

 19            c. East Florida Franchisee closed its second studio on November 13,
 20
                   2022.
 21
 22            d. East Florida Franchisee closed its third studio on November 13, 2022.
 23
               e. Royal Oak Franchisee closed its studio on December 31, 2022.
 24
 25            f. Rochester Hills Franchisee closed its studio on December 31, 2022.
 26
               g. Mason Franchisee closed its studio on March 4, 2023.
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 25 of 143 Page ID
                                 #:3737



  1           h. Liberty Franchisee closed its studio on March 4, 2023.

  2           i. Chicago Franchisee closed its studio on March 19, 2023.
  3
              j. Tampa Franchisee closed its studio on March 20, 2023.
  4
  5 117. The studio operated by Laura continues to operate at a significant loss is on
  6
        the verge of closing.
  7
  8                    Arbitration Actions Filed by AKT Franchisor
  9 118. Without prior notice to Plaintiffs, on the evening of March 22, 2023, AKT
 10
       Franchisor and Xponential filed demands for arbitration against Nisha,
 11
 12     Samantha, Suzie, Inman Park Franchisee, Michael, Nichole, and Amanda.
 13
      119. On April 27, 2023, AKT Franchisor and Xponential subsequently filed an
 14
 15     additional demand for arbitration against Deanna and Detroit Franchisee.
 16
              Firing of AKT’s President and Beginning of Acknowledgment
 17
 18 120. Throughout the entire process, Defendants insisted to each Plaintiff,
 19     individually, that the Plaintiff was the problem, at the same time being unable to
 20
        point to deficiencies in Plaintiffs’ operations that could explain the poor studio
 21
 22     performance.
 23
      121. Finally, approximately on February 27, 2023, AKT Franchisor made what
 24
 25     appeared to be its first acknowledgement that the problem was the system, and
 26
        not its franchisees, when it announced that Chordock had been removed as
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 26 of 143 Page ID
                                 #:3738



  1      President of AKT Franchisor.

  2 122. While Chordock appears to have remained with AKT Franchisor for a time
  3
       following her removal as President, she has since been fully discharged from
  4
  5      duties.
  6
      123. In subsequent meetings with franchisees, AKT Franchisor first admitted to
  7
  8      its franchisees that virtually every AKT studio was losing money. AKT
  9      Franchisor promised to somehow make changes necessary to save the brand.
 10
         Unfortunately, this talk was all too little too late for Plaintiffs.
 11
 12                         The Façade Maintained by Defendants
 13
      124.    In the midst of the collapse of its franchise system, AKT Franchisor has
 14
 15      maintained the same façade it constructed at the outset, Its Chief Executive
 16
         Officer, Geisler, engaged in the following exchange on national television (on
 17
 18      Jim Kramer’s Mad Money show on CNBC) on May 11, 2023:

 19           Geisler:    We’ve actually never had a closure [of a franchisee studio].”
 20
              Kramer:     “Have you ever had to terminate anybody?”
 21
 22           Geisler: “Uh, no, we, I mean, we’ll, we’ll terminate people that haven’t
 23           gotten open in time, right, uh, but as far as people that are open, they
              typically will just transfer to somebody else. They may be in the business
 24           for a couple of years and they typically sell at three and a half to four times
 25           EBITDA.”

 26
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 27 of 143 Page ID
                                 #:3739



  1 125.       The same misrepresentations about AKT Franchisor, Xponential, and

  2      Geisler that convinced Plaintiffs to become franchisees in the AKT franchise
  3
         system are easy to identify because many continue to today.
  4
  5 126.       Despite having filed arbitration demands against Plaintiffs and having
  6
         terminated Plaintiffs’ Franchise Agreements at least two months prior, Geisler
  7
  8      stunningly represented to the world that Xponential (not just AKT) had “actually
  9      never had a closure” of a franchise studio.
 10
                                Roles of the Individual Defendants
 11
 12 127.       Defendant Geisler was Chief Executive Officer of AKT and President of
 13
         Xponential, the parent company of AKT, during the events at issue in this
 14
 15      lawsuit.
 16
      128.     Defendant Chordock was the President of AKT during the events at issue
 17
 18      in this lawsuit.

 19 129. Defendant LaCava is the Director of Franchise Development of Xponential
 20
       and was Senior Brand Manager at St. Gregory Development Group, LLC, during
 21
 22      the events at issue in this lawsuit.
 23
      130. Defendant Freeman is the President of Franchise Development of Xponential
 24
 25      and was the President of Franchise Development at St. Gregory Development
 26
         Group, LLC, during the events at issue in this lawsuit.
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 28 of 143 Page ID
                                 #:3740



  1 131. Defendant Johnston was the Chief Marketing Officer of AKT during the
  2      events at issue in this lawsuit.
  3
      132. Defendant Tetsch was the Director of Sales of AKT during the events at issue
  4
  5      in this lawsuit.
  6
      133. Defendant Wiles was the Director of Finance of AKT during the events at
  7
  8      issue in this lawsuit.
  9 134. Defendant Losco was the Vice President of Franchise Development of
 10
       Xponential and AKT during the events at issue in this lawsuit.
 11
 12   135. Defendant Cooper was the Director of Development for AKT during the
 13
         events at issue in this lawsuit.
 14
 15   136. Defendant Cordova was the Corporate Controller of AKT during the events
 16
         at issue in this lawsuit.
 17
 18   137. Defendant Grabowksi was the Director of Xponential Inc. and Manager of

 19      AKT during the events at issue in this lawsuit.
 20
      138. Defendant Morris was the Lead Director of the Board of Directors of
 21
 22      Xponential Inc. during the events at issue in this lawsuit.
 23
      139. Defendant Junk was the Chief Operating Officer of Xponential and AKT
 24
 25      during the events at issue in this lawsuit.
 26
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 29 of 143 Page ID
                                 #:3741



  1 140. Defendant Moen was the Executive Vice President of Finance for
  2     Xponential, AKT, Club Pilates Franchise, LLC, Cyclebar Franchising, LLC, PB
  3
        Franchising, LLC, Row House Franchise, LLC, Rumble Franchise, LLC, Stretch
  4
  5     Lab Franchise, LLC, and Yoga Six Franchise, LLC during the events at issue in
  6
        this lawsuit.
  7
  8 141. Defendant Meloun was the Chief Financial Officer for Xponential and AKT
  9     during the events at issue in this lawsuit.
 10
      142. Defendant Luna was the President of Xponential, Club Pilates Franchise,
 11
 12     LLC, CycleBar Franchising, LLC, Pure Barre Franchising, Row House
 13
        Franchise, LLC, Rumble Franchise, LLC, Stretch Lab Franchise, LLC, Stride
 14
 15     Franchise, LLC, and Yoga Six Franchise, LLC during the events at issue in this
 16
        lawsuit.
 17
 18 143. Defendant Johnston was the Chief Marketing Officer of AKT during the
 19     events at issue in this lawsuit.
 20
      144. Defendant Holobinko made representations of AKT and management of sales
 21
 22     and/or directly involved during the events at issue in this lawsuit.
 23
      145. Defendant Wehrkamp made representations of AKT and management of
 24
 25     sales and/or directly involved during the events at issue in this lawsuit.
 26
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 30 of 143 Page ID
                                 #:3742



  1 146. Defendant Svilich was the Vice President of Operations of AKT during the
  2     events at issue in this lawsuit.
  3
      147. Defendant Nolan was the Operations Manager of Xponential and Operations
  4
  5     Manager of St. Gregory Development Group, LLC during the events at issue in
  6
        this lawsuit.
  7
  8 148. Defendant Brown was the Vice President of Franchise Development of
  9     Xponential during the events at issue in this lawsuit.
 10
      149. Defendant Markovic was the Manager of Franchise Development Relations
 11
 12     of Xpo Inc. and Sales Coordinator of St. Gregory Development Group, LLC
 13
        during the events at issue in this lawsuit.
 14
 15                             FIRST CAUSE OF ACTION
 16
             DECLARATORY JUDGMENT – UNENFORCEABILITY OF
 17                   ARBITRATION PROVISIONS
 18
                                (Plaintiffs Against Defendants)
 19
      150.   Plaintiffs incorporate the allegations contained in the preceding paragraphs
 20
 21     as if fully restated herein.
 22
      151.   There is an actual, substantial, justiciable, and continuing controversy
 23
        between Plaintiffs and Defendants concerning each party’s rights and
 24
 25     obligations under the Agreements and, specifically, with respect to the parties’
 26
        rights and obligations under the arbitration provisions contained in the
 27
        Agreements (“Arbitration Provisions”).
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 31 of 143 Page ID
                                 #:3743



  1 152.     Defendant, AKT Franchisor, filed a Demand for Arbitration against

  2     Deanna and Detroit Franchisee (Case No. 01-23-0001-9565); Nisha (Case No.
  3
        01-23-0001-2023); Samantha, Suzie, Inman Park Franchisee (Case No. 01-23-
  4
  5     0001-2030); Michael, Nichole (Case No. 01-23-0001-2033); and Amanda (Case

  6     No. 01-23-0001-2034); (collectively, the “Arbitration Proceedings”).
  7
      153.   AKT also Franchisor filed a Motion to Compel Arbitration in this Court,
  8
  9     seeking to compel Plaintiffs’ participation in their respective Arbitration

 10     Proceedings. ECF 19.
 11
      154.   While AKT Franchisor withdrew its Motion to Compel Arbitration, it
 12
 13     explicitly stated it did so without prejudice to refile the motion.
 14 155. Similarly, while AKT Franchisor filed voluntary dismissals in four of the
 15
       Arbitration Proceedings, AKT Franchisor did so in all instances without
 16
 17    prejudice, attempting to preserve its right to refile demands for arbitration
 18     against Plaintiffs on the basis of the Arbitration Provisions for claims asserted in
 19
        this case or any other claims it might have against Plaintiffs.
 20
 21 156.     The Arbitration Provisions purport to cover disputes between Plaintiffs and
 22     Defendants beyond those raised in this case.
 23
      157.   Plaintiffs’ legal rights and obligations under the Arbitration Provisions
 24
 25     remain uncertain; Plaintiffs believe that the Arbitration Provisions are entirely
 26     unenforceable.
 27
      158.   The Arbitration Provisions are both procedurally and substantively
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 32 of 143 Page ID
                                 #:3744



  1     unconscionable in at least 15 ways:

  2           a. The Arbitration Provisions require Franchisees, but not AKT
  3
                 Franchisor, to keep arbitration proceedings and filings confidential.
  4
  5           b. The Arbitration Provisions purport to waive Franchisees’ rights to

  6              punitive, exemplary, incidental, indirect, special, and consequential
  7
                 damages, but not such rights of AKT Franchisor, instead expressly
  8
  9              permitting AKT Franchisor to recover expectation and consequential

 10              damages.
 11
              c. The Arbitration Provisions permit AKT Franchisor, but not
 12
 13              Franchisees, to seek injunctive relief in court for a multitude of claims,
 14              and purport to waive Franchisees’ rights to any remedies or damages
 15
                 for wrongfully-instated injunctions.
 16
 17           d. The Arbitration Provisions prohibit Franchisees from filing or joining
 18              a class action, or from consolidating any proceedings with other
 19
                 franchisees or any other third party despite near-identical claims,
 20
 21              requiring independent arbitration that is likely to cost more than
 22              $100,000 in arbitration/arbitrator fees for each franchisee.
 23
              e. The Arbitration Provisions require Franchisees, at AKT Franchisor’s
 24
 25              option, to participate in pre-arbitration mediation through the
 26              American Arbitration Association without a similar requirement for
 27
                 AKT Franchisor, and provide a 30-day waiting period for AKT
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 33 of 143 Page ID
                                 #:3745



  1              Franchisor to merely decide whether it will require Franchisees to

  2              mediate claims raised by Franchisees.
  3
              f. The Arbitration Provisions require mediation and arbitration at AKT
  4
  5              Franchisor’s headquarters.

  6           g. The Arbitration Provisions require Franchisees, but not AKT
  7
                 Franchisor, to send a written notice describing in detail claims against
  8
  9              AKT Franchisor; AKT Franchisor has no similar obligation.

 10           h. The Arbitration Provisions require Franchisees, but not AKT
 11
                 Franchisor, to receive a written declaration from AKT Franchisor or a
 12
 13              mediator that further mediation proceedings are not worthwhile before
 14              Franchisees may proceed with its claims; AKT Franchisor has no such
 15
                 obligation.
 16
 17           i. Some of the Arbitration Provisions purport to waive Franchisees’
 18              claims if not raised by Franchisees within thirty (30) days.
 19
              j. The Arbitration Provisions purport to limit Franchisees’ time to bring
 20
 21              an action against AKT Franchisor to one year, but provides no such
 22              limitation against AKT Franchisor.
 23
              k. The Arbitration Provisions purport to waive Franchisees’ rights to any
 24
 25              remedy for “fraud, misrepresentation, or deceit by [AKT] Franchisor,
 26              including without limitation, rescission of this Agreement,” with no
 27
                 similar restriction applicable to AKT Franchisor.
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 34 of 143 Page ID
                                 #:3746



  1           l. The Arbitration Provisions purport to prohibit claims by Franchisees

  2              against any party other than AKT Franchisor.
  3
              m. The Arbitration Provisions purport to waive Franchisees’ claims
  4
  5              relating to reliance on representations by AKT Franchisor and its

  6              personnel.
  7
              n. The Arbitration provisions are in the same font as the rest of the
  8
  9              roughly 40-page Agreements and contained no special designation.

 10           o. The Arbitration Provisions, and indeed the Agreements altogether,
 11
                 were non-negotiable take-it-or-leave-it propositions, all drafted by
 12
 13              AKT Franchisor.
 14 159.     The Arbitration Provisions do not contain a “modicum of bilaterality”;
 15
       rather, they are wholly one-sided in favor of their drafter, AKT Franchisor.
 16
 17 160. The Arbitration Provisions contain several terms directly in conflict with
 18     the California Franchise Investment Law (Cal Corp. Code 31000 et seq.
 19
        (“CFIL”).
 20
 21 161.     Without relief from the Court resolving the dispute over the enforceability
 22     of the Arbitration Provisions, Plaintiffs will be faced with uncertainty and
 23
        insecurity with respect to whether AKT Franchisor may force them to arbitrate
 24
 25     claims in this case or claims brought in future cases. Without knowing whether
 26     the Arbitration Provisions are enforceable or not, Plaintiffs have no certainty as
 27
        to whether they must arbitrate any future disputes or claims with AKT
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 35 of 143 Page ID
                                 #:3747



  1     Franchisor or its affiliates, officers, directors, and employees.

  2 162.     Plaintiffs, already having lost hundreds of thousands of dollars (and in some
  3
        cases with losses in the millions), if forced to arbitrate would be required to pay
  4
  5     arbitration and arbitrator fees expected to be more than $100,000 each, when

  6     they may not in fact be required to arbitrate their claims as a result of the
  7
        procedural and substantive unconscionability of the Arbitration Provisions.
  8
  9 163.     Pursuant to California Code of Civil Procedure § 1060, Plaintiffs seek a

 10     declaration from this Court stating that the Arbitration Provisions are void and
 11
        unenforceable, and that Defendants may not pursue claims against Plaintiffs in
 12
 13     arbitration nor force Plaintiffs to bring any present or future claims against
 14     Defendants in arbitration.
 15
      164.   Plaintiffs further seek an order from this Court enjoining Defendants from
 16
 17     pursuing claims in arbitration against them.
 18                           SECOND CAUSE OF ACTION
 19
          VIOLATION OF CALIFORNIA FRANCHISE INVESTMENT LAW
 20   § 31200: FAILURE TO DISCLOSE DIRECTORS, PRINCIPAL OFFICERS,
 21        AND INDIVIDUALS WITH MANAGEMENT RESPONSIBILITY
 22   (Dance Fitness Michigan, LLC, Deanna Alfredo, 6PK Mason LLC, 6PKLiberty
 23    LLC, Amanda Davis, Teeny Turner LLC, Nisha, S2 Fitness Enterprises, LLC,
        Samantha Cox, Suzanne Fischer, Soros & Associates, LLC, Nichole Soros,
 24     Michael, AdEdge Services Inc., Paul, Jodi, and Laura, Against Defendants)
 25
      165.   Plaintiffs incorporate the allegations contained in the preceding paragraphs
 26
 27          as if fully restated herein.
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 36 of 143 Page ID
                                 #:3748



  1 166.    Section 31114 of the California Franchise Investment Law (“CFIL”)

  2         requires that each “application for registration shall be accompanied by a
  3
            proposed franchise disclosure document, which shall contain the material
  4
  5         information set forth in the application for registration, as specified by rule

  6         of the commissioner, and such additional disclosures as the commissioner
  7
            may require.”
  8
  9 167.    California Rule 310.111 requires applications for registration to offer and

 10         sell franchises in California to submit a Uniform Franchise Registration
 11
            Application containing all information required by the NASAA Uniform
 12
 13         Franchise Disclosure Document Guidelines effective July 1, 2007.
 14 168.    Section 31200 of the CFIL states:
 15
                It is unlawful for any person willfully to make any untrue
 16             statement of a material fact in any application, notice or report
 17             filed with the commissioner under this law, or willfully to omit to
                state in any such application, notice, or report any material fact
 18             which is required to be stated therein, or fail to notify the
 19             commissioner of any material change as required by Section
                31123.
 20
 21 169.    The FTC Franchise Rule requires AKT to disclose in Item 2 of its FDD “by
 22         name and position the franchisor’s directors, trustees, general partners,
 23
            principal officers, and any other individuals who will have management
 24
 25         responsibility relating to the sale or operation of franchises,” and, for each
 26         person, his or her principal positions and employers during the past five
 27
            years, including each position’s starting date, ending date, and location.
 28

                                             36
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 37 of 143 Page ID
                                 #:3749



  1 170.    At the time of issuance of AKT Franchisor’s 2018 FDD, 2019 FDD, and

  2         2020 FDD, Geisler was (and, upon information and belief, remains) the
  3
            Chief Executive Officer of AKT and a member of the board of managers of
  4
  5         AKT. Geisler has confirmed in several declarations, under penalty of

  6         perjury, that he is the Chief Executive Officer of AKT. For example:
  7
  8           a. Anthony Geisler stated under oath on December 30, 2021 in the US

  9              District Court for the District of Delaware (1:20-cv-01037-CFC-JLH):
 10
                 “I am the Chief Executive Officer of Defendant Xponential Fitness,
 11
 12              LCC (‘Xponential’) and Chief Executive Officer of Defendant

 13              AKT Franchise, LLC (‘AKT Franchise’),”
 14
              b. Anthony Geisler stated under oath on September 28, 2020, in the US
 15
 16              District Court for the District of Delaware (1:20-cv-01037-CFC-JLH):
 17
                 “I   am   the    Founder         and   Chief   Executive   Officer   of
 18
                 Defendant/Counterclaimant              Xponential    Fitness      LLC
 19
 20              (‘Xponential’)    and       of    Defendant/Counterclaimant       AKT
 21
                 Franchise, LLC (‘AKT’).”
 22
 23           c. Anthony Geisler stated under oath on November 2, 2020, in the US
 24
                 District Court for the District of Delaware (1:20-cv-01037-CFC-JLH):
 25
                 “I am the Chief Executive Officer of Defendant/Counterclaimant
 26
 27              Xponential       Fitness,        LCC      (‘Xponential’)    and      of
 28

                                              37
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 38 of 143 Page ID
                                 #:3750



  1               Defendant/Counterclaimant         AKT     Franchise,     LLC     (‘AKT

  2               Franchise’).”
  3
              d. Anthony Geisler stated under oath on November 6, 2020, in the
  4
  5               Superior Court of the State of California, Court of Orange, (30-2020-
  6
                  01155765-CU-BT-CJC): “I am the Chief Executive Officer of
  7
  8               Plaintiff AKT Franchise, LLC (‘AKT’) and Plaintiff Xponential

  9               Fitness LLC (‘Xponential’) and a Manager of Plaintiff H&W
 10
                  Franchise Holdings LLC (‘H&W’).”
 11
 12 171.     Geisler, AKT Franchisor, and all Defendants knew Geisler was the Chief

 13          Executive Officer of AKT Franchisor.
 14
      172.   Geisler had at all relevant times management responsibility relating to the
 15
 16          sale and operation of franchises.

 17 173.     Based on his title and role in AKT, Geisler is required to be listed in Item 2
 18
             of AKT’s FDD.
 19
 20 174.     Geisler was originally listed as the Chief Executive Officer of AKT in the

 21          2018 FDD; however, for unstated reasons, AKT Franchisor removed
 22
             Geisler from the 2019 FDD, 2020 FDD, and all subsequent FDDs.
 23
 24   175.   Grabowski is also a member of the board of managers of AKT.

 25   176.   Geisler and Grabowski are and, at least as of late 2020, were, very involved
 26
             in the management of AKT.
 27
 28

                                              38
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 39 of 143 Page ID
                                 #:3751



  1 177.     Geisler declared on September 28, 2020:

  2              [Grabowski] and I have had hundreds of discussions with Ms.
  3              Kaiser and her advisors regarding management of AKT and the
                 franchise business. The notion that we “froze” Ms. Kaiser out of
  4              management of AKT is false. To be sure, there have been many
  5              instances in which Mr. Grobowski and I have not agreed with
                 Ms. Kaiser and did not accept her suggestions, but that does not
  6              mean that we froze her out of management of the company.
  7
      178.   Anna Kaiser was also a member of the Board of Managers of AKT in at
  8
  9          least 2018, 2019, and 2020.

 10 179.     Save for disclosing Geisler as the CEO of AKT Franchisor in 2018, AKT
 11
             Franchisor failed to disclose Geisler, Grabowski, and Anna Kaiser in its
 12
 13          FDDs as required by the CFIL.
 14 180.     Similarly, AKT Franchisor failed to disclose in its FDDs other individuals
 15
             with management responsibility relating to sales and operation of AKT
 16
 17          franchises, including, among others, the following:
 18           a. Freeman, the President of Franchise Development for Xponential, had
 19
                 substantive sales conversations with multiple Plaintiffs prior to their
 20
 21              execution of the Agreements, which included discussions and
 22              representations regarding the number of expected members at
 23
                 Plaintiffs’ studios, the time it would take to open, and pro formas
 24
 25              relating to AKT studios.
 26           b. LaCava was (and, upon information and belief, remains) Director of
 27
                 Franchise Development for Xponential and was responsible for sales
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 40 of 143 Page ID
                                 #:3752



  1               of AKT franchises. Justin had conversations with several Plaintiffs,

  2               inducing them to enter into their respective Agreements.
  3
               c. Cooper was the Director of Development for AKT Franchise from
  4
  5               May 2019 through July 2020.

  6            d. Meloun was the Chief Financial Officer of Xponential and AKT since
  7
                  October 2018. Meloun was not identified in any AKT FDD until the
  8
  9               2020 FDD, wherein AKT Franchisor admits he was its Chief Financial

 10               Officer since October 2018.
 11
               e. Losco was the Vice President of Franchise Development for
 12
 13               Xponential since May 2018 and for AKT Franchisor since January
 14               2019.
 15
      181. AKT Franchisor and Defendants knew the titles of each of the above
 16
 17      individuals and that they had management responsibility for sales and operations
 18      of the franchise system.
 19
      182. AKT Franchisor’s failure to disclose the above individuals is a violation of
 20
 21      the FTC Franchise Rule and the CFIL.
 22 183. As a result of AKT Franchisor’s failure to disclose the above individuals,
 23
       Plaintiffs were not aware of the roles and responsibilities of several key figures
 24
 25      in the AKT franchise system, nor their respective employment histories.
 26
 27
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 41 of 143 Page ID
                                 #:3753



  1 184. Had AKT Franchisor properly disclosed the information required to be
  2     disclosed in Item 2 of their FDDs, Plaintiffs would not have executed the
  3
        Agreements.
  4
  5 185. Defendants, and particularly AKT Franchisor and Geisler, are experienced in
  6     franchising.
  7
  8 186. In his own words, Geisler stated in declarations under oath:
  9
              a. “I also served as President of UFC Gym Franchise, following its
 10              acquisition of LA Boxing, a boutique fitness concept that I started with
                 a single gym in 2003 and built to become the largest boxing,
 11
                 kickboxing, and mixed martial arts franchise, with 200 locations in 35
 12              states. I received the EY Entrepreneur of the Year 2019 Award in
                 Orange County, California, where Xponential and its brands, including
 13
                 AKT, are based, and was recognized as Goldman Sachs Most
 14              Intriguing Entrepreneur in 2019.” (Filed on September 28, 2020 in US
                 District Court for the District of Delaware (Case No. 1:20-cv-01037-
 15
                 CFC-JLH))
 16           b. “I also served as President of UFC Gym Franchise, following its
 17              acquisition of LA Boxing, a boutique fitness concept that I started with
                 a single gym in 2003 and built to become the largest boxing,
 18              kickboxing, and mixed martial arts franchise, with 200 locations in 35
 19              states. I received the EY Entrepreneur of the Year 2019 Award in
                 Orange County, California, where Xponential and its brands, including
 20              AKT, are based, and was recognized as Goldman Sachs Most
 21              Intriguing Entrepreneur in 2019.” (Filed on November 2, 2020 in US
                 District Court for the District of Delaware (Case No. 1:20-cv-01037-
 22
                 CFC-JLH))
 23           c. “I also served as President of UFC Gym Franchise, following its
 24              acquisition of LA Boxing, a boutique fitness concept that I started with
                 a single gym in 2003 and built to become the largest boxing,
 25              kickboxing, and mixed martial arts franchise, with 200 locations in 35
 26              states (including 20 in California). I received the EY Entrepreneur of
                 the Year 2019 Award in Orange County, California, where Xponential
 27              and its brands, including AKT, are based, and was recognized as
 28

                                             41
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 42 of 143 Page ID
                                 #:3754



  1               Goldman Sachs Most Intriguing Entrepreneur in 2019.” (Filed on
                  November 6, 2020 in Superior Court of California, County of Orange
  2               (Case No. 30-2020-01155765-CU-BT-CJC))
  3
      187. AKT Franchisor and each Defendant knew who and what they were supposed
  4
  5      to disclose in Item 2 of AKT Franchisor’s FDDs.
  6
      188. AKT Franchisor had the assistance of franchise attorneys in preparing,
  7
  8      updating, and filing their FDDs with the California Department of Financial

  9      Protection and Innovation.
 10
      189. In submitting the FDDs to the California Department of Financial Protection
 11
 12      and Innovation, AKT Franchisor executed and filed a certification that certified

 13      and swore under penalty of law that “all material facts stated in [the FDDs and
 14
         other documents submitted] . . . are accurate and those documents do not contain
 15
 16      any material omissions.”

 17   190. AKT Franchisor knowingly, willfully, and recklessly omitted the information
 18
         required to be disclosed in Item 2.
 19
 20   191.   Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or

 21      indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
 22
         Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
 23
 24      similar status or performing similar functions, or 3) one who materially aided in

 25      the act or transaction that constituted a violation under the CFIL. They are
 26
 27
 28

                                               42
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 43 of 143 Page ID
                                 #:3755



  1     therefore jointly and severally liable for the CFIL violations described above.

  2     Specifically:
  3
              a. Xponential is the direct parent and sole member of AKT Franchisor,
  4
  5              and therefore directly controls AKT Franchisor.

  6           b. Xpo Holdings is the direct parent and sole member of Xponential and
  7
                 therefore indirectly controls AKT Franchisor.
  8
  9           c. As Xpo Inc. states in its public filings with the U.S. Securities and

 10              Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 11
                 business and control[s] the strategic decisions and day-to-day
 12
 13              operations of [Xponential] through [its] ownership of Xpo Holdings .
 14              . . .” Xpo Inc. indirectly controls AKT Franchisor.
 15
              d. Geisler and Grabowski indirectly control AKT Franchisor through
 16
 17              their ownership interests and/or rights guaranteed in governing
 18              documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
 19
                 Investco LP, H&W Investco II LP, and the general partner of H&W
 20
 21              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
 22              Mark Grabowski Anthony Geisler). These intermediary entities
 23
                 (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
 24
 25              indirectly control AKT Franchisor.
 26           e. Geisler directly controls AKT Franchisor and is a principal executive
 27
                 officer and director of AKT Franchisor, Xpo Inc., and each of the rest
 28

                                            43
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 44 of 143 Page ID
                                 #:3756



  1              of the Corporate Defendants, had knowledge of the facts constituting

  2              CFIL violations, and materially aided in preparing, distributing, and
  3
                 discussing the FDDs containing material omissions.
  4
  5           f. Grabowski directly controls AKT Franchisor and is a principal

  6              executive officer of AKT Franchisor, and director of Xpo Inc. and each
  7
                 of the rest of the Corporate Defendants.
  8
  9           g. Morris is a director of Xpo Inc. and has been since May 2019.

 10           h. Chordock, President of AKT Franchisor, was a principal executive
 11
                 officer of AKT Franchisor.
 12
 13           i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 14              principal executive officer of the Corporate Defendants.
 15
              j. Moen, Executive Vice President of Finance of the Corporate
 16
 17              Defendants, was a principal executive officer of the Corporate
 18              Defendants.
 19
              k. Meloun, Chief Financial Officer of the Corporate Defendants, was a
 20
 21              principal executive officer of the Corporate Defendants.
 22           l. Luna, the President of Xponential, was a principal executive officer of
 23
                 the Corporate Defendants.
 24
 25           m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal
 26              executive officer of AKT Franchisor, had knowledge of the facts
 27
 28

                                              44
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 45 of 143 Page ID
                                 #:3757



  1              constituting CFIL violations, and materially aided in distributing and

  2              discussing the FDDs containing material omissions.
  3
              n. Wiles, Director of Finance of AKT, performed the functions of a
  4
  5              principal executive officer of AKT Franchisor, had knowledge of the

  6              facts constituting CFIL violations, and materially aided in distributing
  7
                 and discussing the FDDs containing material omissions.
  8
  9           o. Cordova, Corporate Controller, performed the functions of a principal

 10              executive officer of AKT Franchisor, had knowledge of the facts
 11
                 constituting CFIL violations, and materially aided in distributing and
 12
 13              discussing the FDDs containing material omissions.
 14           p. Losco, Vice President of Franchise Development of Xponential and
 15
                 AKT, had knowledge of the facts constituting CFIL violations, and
 16
 17              particularly his own bankruptcy and its non-inclusion in the FDDs, and
 18              materially aided in distributing and discussing the FDDs containing
 19
                 material omissions.
 20
 21           q. Svilich, Vice President of Operations of AKT, performed the functions
 22              of a principal executive officer of AKT Franchisor, had knowledge of
 23
                 the facts constituting CFIL violations, and materially aided in
 24
 25              distributing and discussing the FDDs containing material omissions.
 26           r. Nolan, Operations Manager of Xpo Inc. had knowledge of the facts
 27
                 constituting CFIL violations and materially aided in distributing to and
 28

                                             45
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 46 of 143 Page ID
                                 #:3758



  1              discussing with Plaintiffs, the FDDs containing material omissions, as

  2              well as additional documentation to Plaintiffs for the onboarding
  3
                 process.
  4
  5           s. Brown, Vice President of Franchise Development of Xponential,

  6              performed the functions of a principal executive officer of AKT
  7
                 Franchisor, had knowledge of the facts constituting CFIL violations,
  8
  9              and materially aided in distributing and discussing the FDDs

 10              containing material omissions. Brown was one of the first salespersons
 11
                 representing AKT that spoke to Plaintiffs. She explained the franchise
 12
 13              system to Plaintiffs, including the number of members expected to
 14              achieve. Further, Brown helped coordinate discovery day visits for
 15
                 Plaintiffs.
 16
 17           t. Markovic, Manager of Franchise Development Relations of Xpo Inc.,
 18              had knowledge of the facts constituting CFIL violations, and
 19
                 materially aided in distributing to and discussing with Plaintiffs, the
 20
 21              FDDs containing material omissions.
 22           u. Freeman, President of Franchise Development, performed the
 23
                 functions of a principal executive officer of the Corporate Defendants,
 24
 25              had knowledge of the facts constituting CFIL violations, was central
 26              to the franchise sales process with Plaintiffs, and materially aided in
 27
 28

                                            46
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 47 of 143 Page ID
                                 #:3759



  1              distributing and discussing the FDDs containing material omissions,

  2              which he knew to be incomplete and inaccurate.
  3
              v. Cooper, Director of Development, materially aided in the sale of the
  4
  5              franchises under AKT Franchisor’s defective FDDs with knowledge

  6              of the omissions and misstatements in the FDDs.
  7
              w. LaCava, Director of Franchise Development of Xponential, materially
  8
  9              aided in the sale of the franchises under AKT Franchisor’s defective

 10              FDDs, was central to the franchise sales process with Plaintiffs, and
 11
                 materially aided in distributing and discussing the FDDs containing
 12
 13              material omissions, which he knew to be incomplete and inaccurate.
 14           x. Tetsch, Director of Sales of AKT, materially aided in the sale of the
 15
                 franchises under AKT Franchisor’s defective FDDs. He participated
 16
 17              in discovery day and had information regarding who should have been
 18              listed in Item 2 of the FDDs, and was directly involved in the sales
 19
                 process using FDDs containing omissions.
 20
 21           y. Holobinko materially aided in the sale of the franchises under AKT
 22              Franchisor’s defective FDDs, including information regarding the
 23
                 “core” customer bases of potential territories. Holobinko knew who the
 24
 25              executive team at Xponential was and that the individuals required to
 26              be disclosed in Item 2 were not disclosed. Holobinko materially
 27
 28

                                            47
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 48 of 143 Page ID
                                 #:3760



  1                participated in distributing to and discussing with Plaintiffs the FDDs

  2                containing material omissions.
  3
                z. Wehrkamp materially aided in the sale of the franchises under AKT
  4
  5                Franchisor’s defective FDDs, knowing that Item 2 of the FDDs did not

  6                include all of the individuals that should have been disclosed there.
  7
                   Wehrkamp materially participated in distributing to and discussing
  8
  9                with Plaintiffs the FDDs containing material omissions.

 10 192. AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 11
       the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 12
 13    SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 14 193. Plaintiffs are entitled to attorney fees and costs incurred as a result of
 15
       Defendants’ violations.
 16
 17                          THIRD CAUSE OF ACTION
 18      VIOLATION OF CALIFORNIA FRANCHISE INVESTMENT LAW
 19      § 31200: FAILURE TO DISCLOSE LITIGATION AND MATERIAL
                          TERMS OF SETTLEMENTS
 20
 21   (Dance Fitness Michigan, LLC, Deanna Alfredo, 6PK Mason LLC, 6PKLiberty
           LLC, Amanda Davis, Teeny Turner LLC, Nisha Moeller, S2 Fitness
 22    Enterprises, LLC, Samantha Cox, Suzanne Fischer, Soros & Associates, LLC,
 23    Nichole Soros, Michael, AdEdge Services Inc., Paul Dumas, Jodi Dumas, and
                               Laura. Against Defendants)
 24
 25 194. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 26      as if fully restated herein.
 27
 28

                                              48
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 49 of 143 Page ID
                                 #:3761



  1 195. The FTC Franchise Rule requires a franchisor to disclose in its FDD whether
  2      any individual who was listed or should have been listed in Item 2 of the FDD
  3
         “[h]as pending against that person . . . [a] material civil action alleging fraud,
  4
  5      unfair or deceptive trade practices, or comparable allegations” or “[h]as in the

  6      10-year period immediately before the disclosure document’s issuance date:
  7
  8         Been held liable in a civil action involving an alleged violation of a
            franchise, antitrust, or securities law, or involving allegations of fraud,
  9         unfair or deceptive practices, or comparable allegations. ‘‘Held liable’’
 10         means that, as a result of claims or counterclaims, the person must pay
            money or other consideration, must reduce an indebtedness by the
 11         amount of an award, cannot enforce its rights, or must take action
 12         adverse to its interests.

 13
      196. The FTC Rule (16 C.F.R. 436.5(c)(3)(ii) fn. 2) requires disclosure of “all
 14
 15      material settlement terms” of a settlement required to be disclosed, whether or
 16      not the agreement is confidential.
 17
 18                          Geisler’s Fraudulent Promises Lawsuit
 19
      197. On April 8, 2009, Geisler was named as a defendant in a civil lawsuit in
 20
 21      Orange County Superior Court (the “Fraudulent Promises Lawsuit”) relating to

 22      the franchise brand Geisler started, LA Boxing.
 23
 24 198. The plaintiff in the Fraudulent Promises Lawsuit alleged that Geisler made
 25      fraudulent promises that the plaintiff would receive a base pay in addition to one
 26
         percent of the gross revenue of every franchisee in the LA Boxing franchise
 27
 28

                                               49
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 50 of 143 Page ID
                                 #:3762



  1      system, that he would be given a franchise in the LA Boxing franchise system,

  2      and that he would receive an ownership interest in the franchisor entity.
  3
      199. The Fraudulent Promises Lawsuit complaint alleged that Geisler, at the time
  4
  5      these promises were made, never intended to perform on the promises, but made
  6
         them only to induce the plaintiff to remain as the Director of Sales of the LA
  7
  8      Boxing franchise.

  9
      200. The Judicial Council of California Civil Jury Instructions (“CACI”) for False
 10
         Promise requires that a plaintiff prove that:
 11
 12      1) the defendant made a promise,
 13      2) the defendant did not intend to perform the promise when made,
 14      3) the defendant intended for the plaintiff to rely on the promise,
 15      4) the plaintiff reasonably relied on the promise,
 16      5) the defendant did not perform the promised act,
 17      6) the plaintiff was harmed, and
 18      7) the plaintiff’s reliance on the defendant’s promise was a substantial factor in
         causing the harm.
 19
 20 201. The Judicial Council of California Civil Jury Instructions (“CACI”) for False
 21
       Promise quotes the following from Engalla v. Permanente Medical Group, Inc.:
 22
 23      “‘Promissory fraud” is a subspecies of fraud and deceit. A promise to do
 24
         something necessarily implies the intention to perform; hence, where a promise
 25
         is made without such intention, there is an implied misrepresentation of fact that
 26
 27      may be actionable fraud.’”
 28

                                               50
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 51 of 143 Page ID
                                 #:3763



  1 202. On December 16, 2010, after trial in the Fraudulent Promises Lawsuit, the
  2      jury returned a verdict against Geisler, holding him liable for false promise and
  3
         specifically finding that Geisler committed fraud in June 2007. Judgment on the
  4
  5      jury verdict was entered against Geisler on April 4, 2011 for $97,465.16 plus

  6      costs (“Fraudulent Promises Judgment”). On this basis, Geisler was “held liable”
  7
         pursuant to the FTC Rule and, therefore, the judgment should have been
  8
  9      disclosed in each AKT FDD until at least April 4, 2021.

 10
      203. The Fraudulent Promises Lawsuit and judgment were not disclosed in the
 11
 12      2018 FDD, 2019, FDD, 2020 FDD, or any other AKT Franchisor FDD (nor,

 13      upon information and belief, any other FDD of any Xponential brand).
 14
      Geisler’s LA Boxing Lawsuit Involving Breach of Fiduciary Duty, Conversion,
 15
                                      and Fraud
 16
 17 204. On July 17, 2013, Geisler was named as a defendant in a civil lawsuit in
 18
       Orange County Superior Court (the “LA Boxing Fraud Lawsuit”) relating to the
 19
 20    LA Boxing brand Geisler began to franchise. Shaun Grove, LA Boxing’s
 21      corporate attorney, and now the President of Club Pilates and Rumble, was the
 22
         other individual defendant named in the lawsuit.
 23
 24   205. The plaintiff in the LA Boxing Fraud Lawsuit, one of the original founders
 25
         of the LA Boxing concept, alleged that, after clashes with Geisler over his
 26
 27      management style and the corporate structure of LA Boxing, Geisler agreed to
 28

                                              51
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 52 of 143 Page ID
                                 #:3764



  1      buy out the plaintiff’s interest in LA Boxing for $2,500,000, to be paid $10,000

  2      per month.
  3
      206. The plaintiff in the LA Boxing Fraud Lawsuit alleged that Geisler negotiated
  4
  5      the purchase price down to $580,000 in 2009, knowing of the plaintiff’s financial
  6
         woes, with agreed-to price increases tied to an increase in the value of LA
  7
  8      Boxing. The plaintiff alleged Geisler made only sporadic payments.

  9
      207. The plaintiff alleged that three years later, in 2012, Geisler again convinced
 10
         the plaintiff to a reduced payout of $300,000, with a promise that it would be
 11
 12      paid in ten monthly $30,000 payments.
 13
      208. The plaintiff alleged that, when he asked Geisler why Geisler was offering
 14
 15      the accelerated payment amounts, “Geisler looked [the plaintiff] in the eye and
 16      lied to him,” saying that the accelerated payment schedule was just to “clean up
 17
         payments” and get the plaintiff “off the books.”
 18
 19 209. In reality, the plaintiff alleged, “at the time Geisler approached [the plaintiff],
 20
       Geisler and [Shaun] Grove had inside knowledge of a pending sale of LA
 21
 22      Boxing” to UFC Gym, the franchisor where Anthony would soon become
 23      President, and wanted to ensure the plaintiff did not receive the benefit of
 24
         “potentially millions of dollars he would have otherwise been entitled to as a
 25
 26      result of the sale of LA Boxing.”
 27
 28

                                               52
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 53 of 143 Page ID
                                 #:3765



  1 210. The Plaintiff in the LA Boxing Fraud Lawsuit filed claims against Geisler for
  2      breach of fiduciary duty, conversion, and fraud, as well as four other counts.
  3
      211. Each of the above claims allege “fraud, unfair or deceptive practices, or
  4
  5      comparable allegations.”
  6
      212. After more than a year of litigation, on December 12, 2014, the case was
  7
  8      dismissed with prejudice on the stipulation of the parties.
  9
      213. The LA Boxing Fraud Lawsuit and terms of settlement were not disclosed in
 10
 11      the 2018 FDD, 2019, FDD, 2020 FDD, or any other AKT Franchisor FDD (nor,
 12      upon information and belief, any other FDD of any Xponential brand).
 13
 14                     Stretch Lab Fraudulent Inducement Lawsuit
 15
      214.    On October 25, 2018, Geisler was named a Third-Party Defendant by the
 16
 17      founders of the Stretch Lab brand (Saul Janson and Timothy Trost), another

 18      franchise brand acquired by Xponential, in which the founders pled a claim for
 19
         fraudulent inducement (the “Stretch Lab Fraud Lawsuit”; together with the
 20
 21      Fraudulent Promises Lawsuit and LA Boxing Fraud Lawsuit, the “Fraud

 22      Lawsuits”). The complaint against Geisler was amended March 18, 2019, to add
 23
         a count for Aiding and Abetting Intentional Interference with Prospective
 24
 25      Economic Advantage.

 26
 27
 28

                                               53
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 54 of 143 Page ID
                                 #:3766



  1 215.      On September 11, 2019, counsel on behalf of Geisler notified the court in

  2      the Stretch Lab Fraud Lawsuit that “the parties have executed a settlement
  3
         agreement . . . .” $6.5 million was paid to resolve the Fraudulent Inducement
  4
  5      Lawsuit, including the Fraudulent Inducement Lawsuit Amended Complaint

  6      against Geisler.
  7
  8 216.      Notwithstanding that Geisler, the CEO of AKT, was “held liable,” the

  9      Stretch Lab Fraud Lawsuit was not disclosed in any AKT Franchisor FDD.
 10
                   Failure to Disclose Fraud Lawsuits Violates the CFIL
 11
 12 217.    AKT Franchisor’s failure to disclose the Fraud Lawsuits in any AKT
 13
       Franchisor FDD is a violation of CFIL § 31200.
 14
 15 218. AKT Franchisor knew what it was supposed to disclose in Item 2 of AKT
 16      Franchisor’s FDDs.
 17
      219. AKT Franchisor willfully omitted the information required to be disclosed in
 18
 19      Item 3.
 20 220. Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or
 21
       indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
 22
 23      Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
 24
         similar status or performing similar functions, or 3) one who materially aided in
 25
         the act or transaction that constituted a violation under the CFIL. They are
 26
 27
 28

                                              54
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 55 of 143 Page ID
                                 #:3767



  1     therefore jointly and severally liable for the CFIL violations described above.

  2     Specifically:
  3
              a. Xponential is the direct parent and sole member of AKT Franchisor,
  4
  5              and therefore directly controls AKT Franchisor.

  6           b. Xpo Holdings is the direct parent and sole member of Xponential and
  7
                 therefore indirectly controls AKT Franchisor.
  8
  9           c. As Xpo Inc. states in its public filings with the U.S. Securities and

 10              Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 11
                 business and control[s] the strategic decisions and day-to-day
 12
 13              operations of [Xponential] through [its] ownership of Xpo Holdings .
 14              . . .” Xpo Inc. indirectly controls AKT Franchisor.
 15
              d. Geisler and Grabowski indirectly control AKT Franchisor through
 16
 17              their ownership interests and/or rights guaranteed in governing
 18              documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
 19
                 Investco LP, H&W Investco II LP, and the general partner of H&W
 20
 21              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
 22              Mark Grabowski Anthony Geisler). These intermediary entities
 23
                 (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
 24
 25              indirectly control AKT Franchisor.
 26           e. Geisler directly controls AKT Franchisor and is a principal executive
 27
                 officer and director of AKT Franchisor, Xpo Inc., and each of the rest
 28

                                            55
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 56 of 143 Page ID
                                 #:3768



  1              of the Corporate Defendants, had knowledge of the facts constituting

  2              CFIL violations, and materially aided in preparing, distributing, and
  3
                 discussing the FDDs containing material omissions.
  4
  5           f. Grabowski directly controls AKT Franchisor and is a principal

  6              executive officer of AKT Franchisor, and director of Xpo Inc. and each
  7
                 of the rest of the Corporate Defendants.
  8
  9           g. Morris is a director of Xpo Inc. and has been since May 2019.

 10           h. Chordock, President of AKT Franchisor, was a principal executive
 11
                 officer of AKT Franchisor.
 12
 13           i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 14              principal executive officer of the Corporate Defendants.
 15
              j. Moen, Executive Vice President of Finance of the Corporate
 16
 17              Defendants, was a principal executive officer of the Corporate
 18              Defendants.
 19
              k. Meloun, Chief Financial Officer of the Corporate Defendants, was a
 20
 21              principal executive officer of the Corporate Defendants.
 22           l. Luna, the President of Xponential, was a principal executive officer of
 23
                 the Corporate Defendants.
 24
 25           m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal
 26              executive officer of AKT Franchisor, had knowledge of the facts
 27
 28

                                              56
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 57 of 143 Page ID
                                 #:3769



  1              constituting CFIL violations, and materially aided in distributing and

  2              discussing the FDDs containing material omissions.
  3
              n. Wiles, Director of Finance of AKT, performed the functions of a
  4
  5              principal executive officer of AKT Franchisor, had knowledge of the

  6              facts constituting CFIL violations, and materially aided in distributing
  7
                 and discussing the FDDs containing material omissions.
  8
  9           o. Cordova, Corporate Controller, performed the functions of a principal

 10              executive officer of AKT Franchisor, had knowledge of the facts
 11
                 constituting CFIL violations, and materially aided in distributing and
 12
 13              discussing the FDDs containing material omissions.
 14           p. Losco, Vice President of Franchise Development of Xponential and
 15
                 AKT, had knowledge of the facts constituting CFIL violations, and
 16
 17              particularly his own bankruptcy and its non-inclusion in the FDDs, and
 18              materially aided in distributing and discussing the FDDs containing
 19
                 material omissions.
 20
 21           q. Svilich, Vice President of Operations of AKT, performed the functions
 22              of a principal executive officer of AKT Franchisor, had knowledge of
 23
                 the facts constituting CFIL violations, and materially aided in
 24
 25              distributing and discussing the FDDs containing material omissions.
 26           r. Nolan, Operations Manager of Xpo Inc. had knowledge of the facts
 27
                 constituting CFIL violations and materially aided in distributing to and
 28

                                             57
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 58 of 143 Page ID
                                 #:3770



  1              discussing with Plaintiffs, the FDDs containing material omissions, as

  2              well as additional documentation to Plaintiffs for the onboarding
  3
                 process.
  4
  5           s. Brown, Vice President of Franchise Development of Xponential,

  6              performed the functions of a principal executive officer of AKT
  7
                 Franchisor, had knowledge of the facts constituting CFIL violations,
  8
  9              and materially aided in distributing and discussing the FDDs

 10              containing material omissions. Brown was one of the first salespersons
 11
                 representing AKT that spoke to Plaintiffs. She explained the franchise
 12
 13              system to Plaintiffs, including the number of members expected to
 14              achieve. Further, Brown helped coordinate discovery day visits for
 15
                 Plaintiffs.
 16
 17           t. Markovic, Manager of Franchise Development Relations of Xpo Inc.,
 18              had knowledge of the facts constituting CFIL violations, and
 19
                 materially aided in distributing to and discussing with Plaintiffs, the
 20
 21              FDDs containing material omissions.
 22           u. Freeman, President of Franchise Development, performed the
 23
                 functions of a principal executive officer of the Corporate Defendants,
 24
 25              had knowledge of the facts constituting CFIL violations, was central
 26              to the franchise sales process with Plaintiffs, and materially aided in
 27
 28

                                            58
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 59 of 143 Page ID
                                 #:3771



  1              distributing and discussing the FDDs containing material omissions,

  2              which he knew to be incomplete and inaccurate.
  3
              v. Cooper, Director of Development, materially aided in the sale of the
  4
  5              franchises under AKT Franchisor’s defective FDDs with knowledge

  6              of the omissions and misstatements in the FDDs.
  7
              w. LaCava, Director of Franchise Development of Xponential, materially
  8
  9              aided in the sale of the franchises under AKT Franchisor’s defective

 10              FDDs, was central to the franchise sales process with Plaintiffs, and
 11
                 materially aided in distributing and discussing the FDDs containing
 12
 13              material omissions, which he knew to be incomplete and inaccurate.
 14           x. Tetsch, Director of Sales of AKT, materially aided in the sale of the
 15
                 franchises under AKT Franchisor’s defective FDDs. He participated
 16
 17              in discovery day and had information regarding the lawsuits that
 18              should have been listed in Item 3 of the FDDs. Testch was directly
 19
                 involved in the sales process using FDDs containing omissions.
 20
 21           y. Holobinko materially aided in the sale of the franchises under AKT
 22              Franchisor’s defective FDDs. Holobinko would have known of prior
 23
                 litigation involving Anthony Geisler that was not disclosed. Holobinko
 24
 25              materially participated in distributing to and discussing with Plaintiffs
 26              the FDDs containing material omissions.
 27
 28

                                             59
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 60 of 143 Page ID
                                 #:3772



  1            z. Wehrkamp materially aided in the sale of the franchises under AKT

  2               Franchisor’s defective FDDs, knowing that Item 3 of the FDDs did not
  3
                  include lawsuits that should have been disclosed there. Wehrkamp
  4
  5               materially participated in distributing to and discussing with Plaintiffs

  6               the FDDs containing material omissions.
  7
      221.   AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
  8
  9     the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor

 10     SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 11
 12 222.      Plaintiffs are entitled to attorney fees and costs incurred as a result of

 13     Defendants’ violations.
 14
                               FOURTH CAUSE OF ACTION
 15
 16       VIOLATION OF CFIL § 31201: MISREPRESENTATIONS ABOUT
                  ANTHONY GEISLER’S CHECKERED PAST
 17
 18     (By Paul and Jodi Against AKT Franchisor, AKT Franchisor SPV, Geisler,
                               Freeman, and Chordock)
 19
 20 223. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 21     as if fully restated herein.
 22
 23 224.      In selling franchises and area development rights to Paul and Jodi, Geisler,

 24     Freeman, and Chordock painted a picture of Geisler as a squeaky clean, exalted
 25
        expert in franchising.
 26
 27
 28

                                              60
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 61 of 143 Page ID
                                 #:3773



  1 225.     In five discussions prior to discovery day (from May 13, 2020 to June 4,

  2     2020), Freeman, and Chordock each told Paul and Jodi that Geisler was a very
  3
        successful entrepreneur who was highly respected and experienced in
  4
  5     franchising and fitness. They omitted to disclose the Fraud Lawsuits, even

  6     though they were aware of them.
  7
  8 226.     Geisler himself told Paul and Jodi at discovery day on June 4, 2020: “We

  9     have never closed a studio.” This statement reinforced the statements and
 10
        omissions made by Freeman, and Chordock about Geisler’s history.
 11
 12 227.     Geisler, Freeman, and Chordock knew that if Geisler’s real past, and in
 13
        particular if the Fraud Lawsuits and their outcomes, were disclosed to Plaintiffs,
 14
        Plaintiffs would not have agreed to take over the Miami AKT studio.
 15
 16 228.    Geisler, Freeman, and Chordock knowingly concealed the Fraud Lawsuits
 17
       from Paul and Jodi, intending to induce him to take over the Miami franchise
 18
 19     that had recently closed.
 20
      229.   Paul and Jodi justifiably relied on the false portrayal of Geisler and
 21
 22     concealment of the Fraud Lawsuits, particularly because AKT Franchisor had a
 23     legal obligation to disclose the Fraud Lawsuits in AKT Franchisor’s FDDs and
 24
        nothing was disclosed there. Had AKT Franchisor disclosed the Fraud Lawsuits,
 25
 26     Plaintiffs would not have agreed to take over the Miami AKT franchise studio.
 27
 28

                                              61
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 62 of 143 Page ID
                                 #:3774



  1 230. As a result of the misrepresentations by AKT Franchisor, Geisler, Freeman,
  2      and Chordock, Paul and Jodi have lost hundreds of thousands of dollars into
  3
         continued operations in a failed franchise system.
  4
  5 231.     AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for

  6      the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
  7
         SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
  8
  9                            FIFTH CAUSE OF ACTION

 10      VIOLATION OF CFIL § 31200 AND § 31201: WILLFULLY UNTRUE
 11     STATEMENTS REGARDING FRANCHISEES’ ESTIMATED INITIAL
                INVESTMENT AND TIME TO OPEN STUDIOS
 12
 13                          (By Plaintiffs Against Defendants)
 14 232. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 15
       as if fully restated herein.
 16
 17 233. The FTC Franchise Rule required AKT Franchisor to disclose by category
 18
         the estimated initial investment Plaintiffs would have to make to open and begin
 19
 20      operating a franchised AKT studio.

 21
      234. Section 31200 of the CFIL states:
 22
 23               It is unlawful for any person willfully to make any untrue
                  statement of a material fact in any application, notice or report
 24               filed with the commissioner under this law, or willfully to omit
 25               to state in any such application, notice, or report any material fact
                  which is required to be stated therein, or fail to notify the
 26               commissioner of any material change as required by Section
 27               31123.
      235. Section 31201 of the CFIL states:
 28

                                               62
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 63 of 143 Page ID
                                 #:3775



  1               It is unlawful for any person to offer or sell a franchise in this
                  state by means of any written or oral communication not
  2               enumerated in Section 31200 which includes an untrue statement
  3               of a material fact or omits to state a material fact necessary in
                  order to make the statements made, in the light of the
  4               circumstances under which they were made, not misleading.
  5
      236. AKT Franchisor issued an FDD to each of Plaintiffs as follows:
  6
  7            a. AKT Franchisor issued the 2018 FDD to Detroit Franchisees on

  8               August 2, 2018, and Inman Park Franchisee on February 18, 2019. In
  9
                  the 2018 FDD, AKT Franchisor represented that the estimated initial
 10
 11               investment to open and operate an AKT studio was $346,100 to

 12               $487,000.
 13
               b. AKT Franchisor issued the 2019 FDD to Ohio Franchisees on May 2,
 14
 15               2019, Inman Park Franchisee on May 2, 2019, Nisha on September 5,
 16               2019, and to Laura on November 1, 2019. In the 2019 FDD, AKT
 17
                  Franchisor represented that the estimated initial investment to open and
 18
 19               operate an AKT studio was $356,600 to $497,500.
 20            c. AKT Franchisor issued the 2020 FDD to Tampa Bay Franchisee on
 21
                  January 26, 2021. In the 2020 FDD, AKT Franchisor represented that
 22
 23               the estimated initial investment to open and operate an AKT studio was
 24               $341,200 to $529,900.
 25
               d. AKT Franchisor issued the 2021 FDD to East Florida Franchisee on
 26
 27               October 13, 2021. In the 2021 FDD, AKT Franchisor represented that
 28

                                              63
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 64 of 143 Page ID
                                 #:3776



  1                the estimated initial investment to open and operate an AKT studio was

  2                $319,300 to $499,700.
  3
      237. AKT Franchisor and its sales representatives also represented to Plaintiffs, at
  4
  5      discovery day and at phone calls prior to discovery day, that the high end of the

  6      represented investment range was for studios in large cities in New York and
  7
         California, and that Plaintiffs’ investment would not be at the high end of the
  8
  9      represented range given their respective locations.

 10 238. The representations made by AKT Franchisor orally and in Item 7 of its FDDs
 11
       were materially false. The following Plaintiffs’ initial investments grossly
 12
 13    exceeded the range represented by AKT Franchisor:
 14            a. The actual initial investment for Royal Oak Franchisee was roughly
 15
                   $730,017.06, exceeding the low end of the represented range by
 16
 17                $383,917.06 and the high end of the represented range by $243,017.06.
 18            b. The actual initial investment for Rochester Hills Franchisee was
 19
                   $670,693.66, exceeding the low end of the represented range by
 20
 21                $324,593.66 and the high end of the represented range by $183,693.66.
 22            c. The actual initial investment for Mason Franchisee was $748,604,
 23
                   exceeding the low end of the represented range by $416,104 and the
 24
 25                high end of the represented range by $249,104.
 26
 27
 28

                                              64
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 65 of 143 Page ID
                                 #:3777



  1           d. The actual initial investment for Liberty Franchisee was $845,611,

  2              exceeding the low end of the represented range by $513,111 and the
  3
                 high end of the represented range by $346,111.
  4
  5           e. The actual initial investment for Inman Park Franchisee was $

  6              $801,768, exceeding the low end of the represented range by $469,268
  7
                 and the high end of the represented range by $302,268.
  8
  9           f. The actual initial investment for Nisha was $645,819, exceeding the

 10              low end of the represented range by $313,319 and the high end of the
 11
                 represented range by $146,319.
 12
 13           g. The actual initial investment for Tampa Bay Franchisee was $575,968,
 14              exceeding the low end of the represented range by $234,768 and the
 15
                 high end of the represented range by $46,068.
 16
 17           h. The actual initial investment for Laura was $619,163, exceeding the
 18              low end of the represented range by $262,563 and the high end of the
 19
                 represented range by $121,663.
 20
 21           i. The actual initial investment for East Florida Franchisee’s three studio
 22              – two of which correlated with 2020 FDD Item 7 numbers and one
 23
                 which correlated with 2021 FDD Item 7 numbers) was $2,488,668,
 24
 25              exceeding the collective low end of the represented range by
 26              $1,486,968 and the collective high end of the represented range by
 27
                 $929,168, or more than $300,000 per studio.
 28

                                             65
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 66 of 143 Page ID
                                 #:3778



  1 239. AKT Franchisor even failed to include whole categories of investment. For
  2      example, AKT Franchisor did not disclose AKT’s structural engineering design
  3
         and sound engineering requirements (standard requirements for an AKT studio).
  4
  5 240. The misrepresented initial investment ranges in AKT Franchisor’s FDDs
  6      were made more pronounced because AKT Franchisor also represented that
  7
         Plaintiffs could expect to have construction of their studios completed four to
  8
  9      eight weeks after signing their franchise agreement and to have their grand

 10      opening twelve weeks after signing of the franchise agreement. In its FDDs,
 11
         AKT Franchisor stated more conservatively that the typical time from signing to
 12
 13      opening was 3-6 months.
 14 241. AKT Franchisor made these representations to Plaintiffs knowing that they
 15
       were untrue or, at the very least, knowing that it did not have a reasonable basis
 16
 17    to so represent.
 18 242. The actual time it took Plaintiffs to build out and open their respective studios
 19
       was, in each case, substantially longer than represented. The time from signing
 20
 21      to grand opening was:
 22                    Date of
 23                    Signing
                      Franchise      Date Open        Time From               Date
 24                   Agreement         For          Signing FA to           Studio
 25    Franchisee       (FA)          Business      Open for Business        Closed
       Royal Oak      9/15/2018      12/9/2019          451 days           12/31/2022
 26    Rochester
 27    Hills           9/15/2018      5/5/2022          1,329 days         12/31/2022
       Mason           6/7/2019       6/25/2020          385 days           3/4/2023
 28

                                              66
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 67 of 143 Page ID
                                 #:3779



  1   Liberty          7/7/2020      5/20/2021          318 days             3/4/2023
      Chicago         12/31/2019     5/30/2022          882 days             3/19/2023
  2   Inman           5/22/2019      9/8/2020           476 days             5/30/2022
  3   Tampa           3/24/2021      4/7/2022           380 days             3/20/2023
      Laura           12/14/2019     1/24/2022          773 days                N/A
  4   East
  5   Florida 1st
      Location         6/9/2020      9/13/2021          462 days             10/16/2022
  6   East
  7   Florida 2nd
      Location         2/5/2021      2/24/2022          385 days             11/13/2022
  8   East
  9   Florida 3rd
      Location         1/6/2022       7/6/2022          182 days             11/13/2022
 10
 11 243. Xponential Inc. has acknowledged the falsity of its representation, conceding
 12      in FTC filings that the average time for an Xponential studio to open after
 13
         signing of the franchise agreement was more than 12 months.
 14
 15 244. The additional time required for Plaintiffs to build out and open their studios
 16      caused them to incur additional initial investment costs, which were not
 17
         disclosed in the FDDs.
 18
 19 245. The representations AKT Franchisor made about Plaintiffs’ expected initial
 20
         investment were false and AKT Franchisor knew they were false because, upon
 21
         information and belief, AKT Franchisor merely copied the estimated figures
 22
 23      from another franchise brand. AKT Franchisor had no reasonable basis to make
 24
         the representations.
 25
      246. AKT Franchisor sold AKT franchises to Plaintiffs using the above false and
 26
 27      misleading statements regarding the estimated initial investment.
 28

                                              67
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 68 of 143 Page ID
                                 #:3780



  1 247. AKT Franchisor’s violation was knowing and willful because it knew the
  2     information used had no reasonable basis.
  3
      248. Plaintiffs have been seriously damaged as a result of AKT Franchisor’s
  4
  5     violations of the CFIL in an amount to be proven at trial, and are entitled to

  6     rescission and damages, as well as attorney fees, under the CFIL.
  7
      249.   Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or
  8
  9     indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT

 10     Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
 11
        similar status or performing similar functions, or 3) one who materially aided in
 12
 13     the act or transaction that constituted a violation under the CFIL. They are
 14     therefore jointly and severally liable for the CFIL violations described above.
 15
        Specifically:
 16
 17            a. Xponential is the direct parent and sole member of AKT Franchisor,
 18               and therefore directly controls AKT Franchisor.
 19
               b. Xpo Holdings is the direct parent and sole member of Xponential and
 20
 21               therefore indirectly controls AKT Franchisor.
 22            c. As Xpo Inc. states in its public filings with the U.S. Securities and
 23
                  Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 24
 25               business and control[s] the strategic decisions and day-to-day
 26               operations of [Xponential] through [its] ownership of Xpo Holdings .
 27
                  . . .” Xpo Inc. indirectly controls AKT Franchisor.
 28

                                              68
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 69 of 143 Page ID
                                 #:3781



  1           d. Geisler and Grabowski indirectly control AKT Franchisor through

  2              their ownership interests and/or rights guaranteed in governing
  3
                 documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
  4
  5              Investco LP, H&W Investco II LP, and the general partner of H&W

  6              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
  7
                 Mark Grabowski Anthony Geisler). These intermediary entities
  8
  9              (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly

 10              indirectly control AKT Franchisor.
 11
              e. Geisler directly controls AKT Franchisor and is a principal executive
 12
 13              officer and director of AKT Franchisor, Xpo Inc., and each of the rest
 14              of the Corporate Defendants, had knowledge of the facts constituting
 15
                 CFIL violations, and materially aided in preparing, distributing, and
 16
 17              discussing the FDDs containing the material misrepresentations.
 18           f. Grabowski directly controls AKT Franchisor and is a principal
 19
                 executive officer of AKT Franchisor, and director of Xpo Inc. and each
 20
 21              of the rest of the Corporate Defendants.
 22           g. Morris is a director of Xpo Inc. and has been since May 2019.
 23
              h. Chordock, President of AKT Franchisor, was a principal executive
 24
 25              officer of AKT Franchisor.
 26           i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 27
                 principal executive officer of the Corporate Defendants.
 28

                                              69
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 70 of 143 Page ID
                                 #:3782



  1           j. Moen, Executive Vice President of Finance of the Corporate

  2              Defendants, was a principal executive officer of the Corporate
  3
                 Defendants.
  4
  5           k. Meloun, Chief Financial Officer of the Corporate Defendants, was a

  6              principal executive officer of the Corporate Defendants.
  7
              l. Luna, the President of Xponential, was a principal executive officer of
  8
  9              the Corporate Defendants.

 10           m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal
 11
                 executive officer of AKT Franchisor, had knowledge of the facts
 12
 13              constituting CFIL violations, and materially aided in distributing and
 14              discussing the FDDs containing the material misrepresentations.
 15
              n. Wiles, Director of Finance of AKT, performed the functions of a
 16
 17              principal executive officer of AKT Franchisor, had knowledge of the
 18              facts constituting CFIL violations, and materially aided in distributing
 19
                 and discussing the FDDs containing the material misrepresentations.
 20
 21           o. Cordova, Corporate Controller, performed the functions of a principal
 22              executive officer of AKT Franchisor, had knowledge of the facts
 23
                 constituting CFIL violations, and materially aided in distributing and
 24
 25              discussing the FDDs containing the material misrepresentations.
 26           p. Losco, Vice President of Franchise Development of Xponential and
 27
                 AKT, had knowledge of the facts constituting CFIL violations, and
 28

                                             70
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 71 of 143 Page ID
                                 #:3783



  1              materially aided in distributing and discussing the FDDs containing the

  2              material misrepresentations.
  3
              q. Svilich, Vice President of Operations of AKT, performed the functions
  4
  5              of a principal executive officer of AKT Franchisor, had knowledge of

  6              the facts constituting CFIL violations, and materially aided in
  7
                 distributing and discussing the FDDs containing the material
  8
  9              misrepresentations.

 10           r. Nolan, Operations Manager of Xpo Inc. had knowledge of the facts
 11
                 constituting CFIL violations and materially aided in distributing to and
 12
 13              discussing with Plaintiffs, the FDDs containing the material
 14              misrepresentations.
 15
              s. Brown, Vice President of Franchise Development of Xponential,
 16
 17              performed the functions of a principal executive officer of AKT
 18              Franchisor, had knowledge of the facts constituting CFIL violations,
 19
                 and materially aided in distributing and discussing the FDDs
 20
 21              containing the material misrepresentations. Brown was one of the first
 22              salespersons representing AKT that spoke to Plaintiffs. Further, Brown
 23
                 helped coordinate discovery day visits for Plaintiffs and facilitated
 24
 25              provision of information, including expected costs and revenues.
 26              Brown was, upon information and belief, privy to the source of the cost
 27
                 information and knew it was not a reasonable estimate of expenses.
 28

                                             71
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 72 of 143 Page ID
                                 #:3784



  1           t. Markovic, Manager of Franchise Development Relations of Xpo Inc.,

  2              had knowledge of the facts constituting CFIL violations, and
  3
                 materially aided in distributing to and discussing with Plaintiffs, the
  4
  5              FDDs containing the material misrepresentations.

  6           u. Freeman, President of Franchise Development, performed the
  7
                 functions of a principal executive officer of the Corporate Defendants,
  8
  9              had knowledge of the facts constituting CFIL violations, was central

 10              to the franchise sales process with Plaintiffs, and materially aided in
 11
                 distributing and discussing the FDDs containing the material
 12
 13              misrepresentations, which he knew to be untrue.
 14           v. Cooper, Director of Development, materially aided in the sale of the
 15
                 franchises under AKT Franchisor’s defective FDDs with knowledge
 16
 17              of the material misrepresentations in the FDDs.
 18           w. LaCava, Director of Franchise Development of Xponential, materially
 19
                 aided in the sale of the franchises under AKT Franchisor’s defective
 20
 21              FDDs, was central to the franchise sales process with Plaintiffs, and
 22              materially aided in distributing and discussing the containing the
 23
                 material misrepresentations, which he knew to be incomplete and
 24
 25              inaccurate.
 26           x. Tetsch, Director of Sales of AKT, materially aided in the sale of the
 27
                 franchises under AKT Franchisor’s defective FDDs. He participated
 28

                                            72
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 73 of 143 Page ID
                                 #:3785



  1              in discovery day and had information regarding who should have been

  2              listed in Item 2 of the FDDs, and was directly involved in the sales
  3
                 process using FDDs containing the material misrepresentations.
  4
  5           y. Holobinko materially aided in the sale of the franchises under AKT

  6              Franchisor’s defective FDDs. Holobinko materially participated in
  7
                 distributing to and discussing with Plaintiffs the FDDs containing the
  8
  9              material misrepresentations.

 10           z. Wehrkamp materially aided in the sale of the franchises under AKT
 11
                 Franchisor’s defective FDDs. Wehrkamp materially participated in
 12
 13              distributing to and discussing with Plaintiffs the FDDs containing the
 14              material misrepresentations, particularly relating to the reliability of
 15
                 AKT Franchisor’s investment estimates.
 16
 17 250.    AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 18     the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 19
        SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 20
 21 251.    Plaintiffs are entitled to attorney fees and costs incurred as a result of
 22     Defendants’ violations.
 23
                              SIXTH CAUSE OF ACTION
 24
 25    VIOLATION OF CFIL § 31200: WILLFULLY UNTRUE STATEMENTS
       OF MATERIAL FACT AND MATERIAL OMISSIONS RELATING TO
 26    FINANCIAL PERFORMANCE REPRESENTATIONS IN FRANCHISE
 27                    DISCLOSURE DOCUMENTS
 28

                                             73
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 74 of 143 Page ID
                                 #:3786



  1                              (Plaintiffs Against Defendants)

  2 252. Plaintiffs incorporate the allegations contained in the preceding paragraphs
  3
         as if fully restated herein.
  4
  5 253. In the 2018 FDD, 2019 FDD, and 2020 FDD, AKT Franchisor franchised its
  6      dance fitness studios, which it described as “a fitness studio that offers and
  7
         provides indoor AKT Classes/instruction and other related exercise classes
  8
  9      under the ‘AKT’ marks.”

 10 254. While AKT Franchisor had no franchise studios at the time it issued the 2018
 11
       FDD or 2019 FDD (AKT represented in the 2020 FDD that it had three franchise
 12
 13    locations which began operating in 2019), AKT represented in Item 19 of the
 14      2018 FDD, 2019 FDD, and 2020 FDD that two “Studios” were operated by the
 15
         founder of the AKT brand, Anna Kaiser (the “Anna Kaiser Studios”), using the
 16
 17      AKT System.
 18 255. AKT Franchisor included the Anna Kaiser Studios in Item 20 of the 2018
 19
       FDD, 2019 FDD, and 2020 FDD as company-owned outlets.
 20
 21   256. The Anna Kaiser Studios never operated under a franchise agreement.
 22   257. The Anna Kaiser Studios operated materially different from franchised
 23
         studios, including Plaintiffs’ AKT studios, a fact that Geisler admitted under
 24
 25      penalty of perjury, stating:
 26                [Anna] refused to execute franchise agreements for the [Anna
 27                Kaiser Studios] unless she received special treatment to exempt
                   her franchises from rules or requirements applicable to other
 28

                                               74
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 75 of 143 Page ID
                                 #:3787



  1                AKT franchises. For example, Ms. Kaiser insisted that her
                   Studios be allowed to offer and sell unapproved goods and
  2                services relating to nutrition, cryotherapy, cosmetics, and other
  3                fields, that the Seller Studios not have to comply with local
                   marketing requirements and other practices required for every
  4                AKT franchise, and that the Seller Studios not have to comply
  5                with certain physical configurations, facilities or specifications
                   required of other AKT studios.
  6
  7 258. Geisler even acknowledged that the physical configuration of the Anna
  8      Kaiser Studios was different than that of the franchise studios AKT Franchisor
  9
         was selling.
 10
 11 259. The Anna Kaiser Studios were part of a much larger operation than the
 12      franchise studios actually offered by AKT Franchisor, an operation that included
 13
         pop-up locations, celebrity training, in-home training, and extensive publicity.
 14
 15 260. The Anna Kaiser Studios had also been operating for five years by the time
 16      AKT Franchisor issued its first FDD in 2018.
 17
      261. The Anna Kaiser Studios provided numerous services and products that
 18
 19      Plaintiffs were not permitted to offer.
 20 262. The Anna Kaiser Studios generated substantial revenue from private training
 21
       occurring at the studio and other locations.
 22
 23   263. Franchisees were not permitted to offer private training and private training
 24      was never a part of the franchise model for nearly all franchisees.
 25
      264. Based on these substantial differences in operation, Plaintiffs’ studios were
 26
 27      even built out materially differently than the Anna Kaiser Studios.
 28

                                               75
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 76 of 143 Page ID
                                 #:3788



  1 265. Prior to registering and issuing each of the 2018 FDD, 2019 FDD, and 2020
  2     FDD to Plaintiffs, Defendants knew that the Anna Kaiser Studios were not
  3
        operated like the franchise studio that AKT Franchisor was offering.
  4
  5 266. Prior to registering and issuing each of the 2018 FDD, 2019 FDD, and 2020
  6     FDD to Plaintiffs, Defendants knew Anna Kaiser was refusing to execute
  7
        franchise agreements to operate the Anna Kaiser Studios as franchise studios.
  8
  9 267. Nevertheless, AKT Franchisor made financial performance representations
 10     in the 2018 FDD, 2019 FDD, and 2020 FDD based on the financial performance
 11
        of the Anna Kaiser Studios. Specifically, in Item 19 of the 2018 FDD, AKT
 12
 13     Franchisor provided what it represented as the “Average and Median Gross
 14     Revenue” generated by the Anna Kaiser Studios from April 1, 2017 to March
 15
        31, 2018: $1,345,070.77. AKT Franchisor also provided the gross revenue for
 16
 17     each of the two studios, as well as cost of sales and certain operating expenses.
 18     AKT Franchisor represented that one of the Anna Kaiser Studios generated
 19
        $530,803.73 in “Total Revenue Less Certain Operating Expenses” and the other
 20
 21     generated $360,005.60.53
 22 268. In the 2019 FDD, AKT Franchisor revised its Item 19 financial performance
 23
       representation, but continued to make the representation based on the Anna
 24
 25     Kaiser Studios, this time representing that the “Average and Median Gross
 26     Revenue of the Anna Kaiser Studios for 2018 was $1,213,998.
 27
 28

                                             76
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 77 of 143 Page ID
                                 #:3789



  1 269. In the 2020 FDD, AKT Franchisor again disclosed the average gross revenue
  2      of the Anna Kaiser Studios, this time representing the average to be $1,079,401.
  3
      270. When AKT Franchisor ceased using the Anna Kaiser Studios as the basis for
  4
  5      its financial performance representation, the represented numbers dropped to

  6      less than one third of the numbers represented prior to 2021.
  7
      271. Under the FTC Franchise Rule, AKT Franchisor must have had a reasonable
  8
  9      basis for the financial performance representations it made in its 2018 FDD,

 10      2019 FDD, and 2020 FDD.
 11
      272. The North American Securities Administrators Association (“NASAA”)
 12
 13      provides that financial performance representations in franchise disclosure
 14      documents “must be based on the sort of factual information upon which a
 15
         prudent businessperson would rely in making an investment decision.”
 16
 17 273. AKT Franchisor did not have a reasonable basis, given the qualitative and
 18      quantitative differences in the operation of the Anna Kaiser Studios and the
 19
         studios it was offering to Plaintiffs, to make the financial performance
 20
 21      representations it did.
 22 274. AKT Franchisor’s financial performance representations in the 2018 FDD,
 23
       2019 FDD, and 2020 FDD were materially false and misleading and, lacking a
 24
 25      reasonable basis, were violative of the FTC Franchise Rule and in turn the CFIL.
 26   275. AKT Franchisor’s violation was knowing and willful.
 27
 28

                                              77
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 78 of 143 Page ID
                                 #:3790



  1 276. Plaintiffs have been seriously damaged as a result of AKT Franchisor’s
  2     violations of the CFIL in an amount to be proven at trial, and are entitled to
  3
        rescission and damages, as well as attorney fees, under the CFIL.
  4
  5 277.    Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or

  6     indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
  7
        Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
  8
  9     similar status or performing similar functions, or 3) one who materially aided in

 10     the act or transaction that constituted a violation under the CFIL. They are
 11
        therefore jointly and severally liable for the CFIL violations described above.
 12
 13     Specifically:
 14           a. Xponential is the direct parent and sole member of AKT Franchisor,
 15
                 and therefore directly controls AKT Franchisor.
 16
 17           b. Xpo Holdings is the direct parent and sole member of Xponential and
 18              therefore indirectly controls AKT Franchisor.
 19
              c. As Xpo Inc. states in its public filings with the U.S. Securities and
 20
 21              Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 22              business and control[s] the strategic decisions and day-to-day
 23
                 operations of [Xponential] through [its] ownership of Xpo Holdings .
 24
 25              . . .” Xpo Inc. indirectly controls AKT Franchisor.
 26           d. Geisler and Grabowski indirectly control AKT Franchisor through
 27
                 their ownership interests and/or rights guaranteed in governing
 28

                                             78
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 79 of 143 Page ID
                                 #:3791



  1              documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W

  2              Investco LP, H&W Investco II LP, and the general partner of H&W
  3
                 Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
  4
  5              Mark Grabowski Anthony Geisler). These intermediary entities

  6              (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
  7
                 indirectly control AKT Franchisor.
  8
  9           e. Geisler directly controls AKT Franchisor and is a principal executive

 10              officer and director of AKT Franchisor, Xpo Inc., and each of the rest
 11
                 of the Corporate Defendants, had knowledge of the facts constituting
 12
 13              CFIL violations, and materially aided in preparing, distributing, and
 14              discussing the FDDs containing material omissions.
 15
              f. Grabowski directly controls AKT Franchisor and is a principal
 16
 17              executive officer of AKT Franchisor, and director of Xpo Inc. and each
 18              of the rest of the Corporate Defendants.
 19
              g. Morris is a director of Xpo Inc. and has been since May 2019.
 20
 21           h. Chordock, President of AKT Franchisor, was a principal executive
 22              officer of AKT Franchisor.
 23
              i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 24
 25              principal executive officer of the Corporate Defendants.
 26
 27
 28

                                              79
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 80 of 143 Page ID
                                 #:3792



  1           j. Moen, Executive Vice President of Finance of the Corporate

  2              Defendants, was a principal executive officer of the Corporate
  3
                 Defendants.
  4
  5           k. Meloun, Chief Financial Officer of the Corporate Defendants, was a

  6              principal executive officer of the Corporate Defendants.
  7
              l. Luna, the President of Xponential, was a principal executive officer of
  8
  9              the Corporate Defendants.

 10           m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal
 11
                 executive officer of AKT Franchisor, and had knowledge of the facts
 12
 13              constituting CFIL violations, including the fact that Anna Kaiser’s
 14              studios were radically different from the studios Plaintiffs would
 15
                 operate, and that Plaintiffs would never achieve the level of
 16
 17              performance that Anna Kaiser’s locations would produce. Johnston
 18              materially aided in the violation of the CFIL by distributing and
 19
                 discussing the FDDs containing these misrepresentations and omitted
 20
 21              distinctions between Anna Kaiser’s studios and studios that Plaintiffs
 22              would operate as franchisees.
 23
              n. Wiles, Director of Finance of AKT, performed the functions of a
 24
 25              principal executive officer of AKT Franchisor, and had knowledge of
 26              the facts constituting CFIL violations, including the fact that Anna
 27
                 Kaiser’s studios were radically different from the studios Plaintiffs
 28

                                             80
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 81 of 143 Page ID
                                 #:3793



  1              would operate, and that Plaintiffs would never achieve the level of

  2              performance that Anna Kaiser’s locations would produce. Wiles
  3
                 materially aided in the violation of the CFIL by distributing and
  4
  5              discussing the FDDs containing these misrepresentations and omitted

  6              distinctions between Anna Kaiser’s studios and studios that Plaintiffs
  7
                 would operate as franchisees.
  8
  9           o. Cordova, Corporate Controller, performed the functions of a principal

 10              executive officer of AKT Franchisor, and had knowledge of the facts
 11
                 constituting CFIL violations, including the fact that Anna Kaiser’s
 12
 13              studios were radically different from the studios Plaintiffs would
 14              operate, and that Plaintiffs would never achieve the level of
 15
                 performance that Anna Kaiser’s locations would produce. Cordova
 16
 17              materially aided in the violation of the CFIL by distributing and
 18              discussing the FDDs containing these misrepresentations and omitted
 19
                 distinctions between Anna Kaiser’s studios and studios that Plaintiffs
 20
 21              would operate as franchisees.
 22           p. Losco, Vice President of Franchise Development of Xponential and
 23
                 AKT, had knowledge of the facts constituting CFIL violations and had
 24
 25              knowledge of the facts constituting CFIL violations, including the fact
 26              that Anna Kaiser’s studios were radically different from the studios
 27
                 Plaintiffs would operate, and that Plaintiffs would never achieve the
 28

                                            81
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 82 of 143 Page ID
                                 #:3794



  1              level of performance that Anna Kaiser’s locations would produce.

  2              Losco materially aided in the violation of the CFIL by distributing and
  3
                 discussing the FDDs containing these misrepresentations and omitted
  4
  5              distinctions between Anna Kaiser’s studios and studios that Plaintiffs

  6              would operate as franchisees.
  7
              q. Svilich, Vice President of Operations of AKT, performed the functions
  8
  9              of a principal executive officer of AKT Franchisor, and had knowledge

 10              of the facts constituting CFIL violations, including the fact that Anna
 11
                 Kaiser’s studios were radically different from the studios Plaintiffs
 12
 13              would operate, and that Plaintiffs would never achieve the level of
 14              performance that Anna Kaiser’s locations would produce. Svilich
 15
                 materially aided in the violation of the CFIL by distributing and
 16
 17              discussing the FDDs containing these misrepresentations and omitted
 18              distinctions between Anna Kaiser’s studios and studios that Plaintiffs
 19
                 would operate as franchisees.
 20
 21           r. Nolan, Operations Manager of Xpo Inc., had knowledge of the facts
 22              constituting CFIL violations and materially aided in distributing to and
 23
                 discussing with Plaintiffs, the FDDs containing the false financial
 24
 25              performance representations. Nolan knew or should have known that
 26              Anna Kaiser’s studios were radically different from the studios
 27
                 Plaintiffs would operate, and that Plaintiffs would never achieve the
 28

                                             82
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 83 of 143 Page ID
                                 #:3795



  1              level of performance that Anna Kaiser’s locations would produce, but

  2              disclosed Plaintiffs with the defective FDDs anyway.
  3
              s. Brown, Vice President of Franchise Development of Xponential,
  4
  5              performed the functions of a principal executive officer of AKT

  6              Franchisor, and had knowledge of the facts constituting CFIL
  7
                 violations, including the fact that Anna Kaiser’s studios were radically
  8
  9              different from the studios Plaintiffs would operate, and that Plaintiffs

 10              would never achieve the level of performance that Anna Kaiser’s
 11
                 locations would produce. Brown was central in aiding in the violation
 12
 13              of the CFIL by distributing and discussing the FDDs containing these
 14              misrepresentations and omitted distinctions between Anna Kaiser’s
 15
                 studios and studios that Plaintiffs would operate as franchisees.
 16
 17           t. Markovic, Manager of Franchise Development Relations of Xpo Inc.,
 18              had knowledge of the facts constituting CFIL violations, including the
 19
                 fact that Anna Kaiser’s studios were radically different from the
 20
 21              studios Plaintiffs would operate, and that Plaintiffs would never
 22              achieve the level of performance that Anna Kaiser’s locations would
 23
                 produce. Markovic materially aided in distributing and discussing the
 24
 25              FDDs containing these misrepresentations and omitted details relating
 26              to Anna Kaiser’s studios as compared to other franchisee studios.
 27
 28

                                             83
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 84 of 143 Page ID
                                 #:3796



  1           u. Freeman, President of Franchise Development, performed the

  2              functions of a principal executive officer of the Corporate Defendants,
  3
                 and had knowledge of the facts constituting CFIL violations, including
  4
  5              the fact that Anna Kaiser’s studios were radically different from the

  6              studios Plaintiffs would operate, and that Plaintiffs would never
  7
                 achieve the level of performance that Anna Kaiser’s locations would
  8
  9              produce. Freeman materially aided in distributing and discussing the

 10              FDDs containing these misrepresentations and omitted details relating
 11
                 to Anna Kaiser’s studios as compared to other franchisee studios.
 12
 13              Freeman is believed to have participated in preparing the substance of
 14              the financial performance representations.
 15
              v. Cooper, Director of Development, had knowledge of the facts
 16
 17              constituting CFIL violations, including the fact that Anna Kaiser’s
 18              studios were radically different from the studios Plaintiffs would
 19
                 operate, and that Plaintiffs would never achieve the level of
 20
 21              performance that Anna Kaiser’s locations would produce. Cooper
 22              materially aided in the violation of the CFIL by distributing and
 23
                 discussing the FDDs containing these misrepresentations and omitted
 24
 25              distinctions between Anna Kaiser’s studios and studios that Plaintiffs
 26              would operate as franchisees.
 27
 28

                                            84
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 85 of 143 Page ID
                                 #:3797



  1           w. LaCava, Director of Franchise Development of Xponential, materially

  2              aided in the sale of the franchises under AKT Franchisor’s defective
  3
                 FDDs, was central to the franchise sales process with Plaintiffs, and
  4
  5              materially aided in distributing and discussing the FDDs containing

  6              material omissions, which he knew to be incomplete and inaccurate.
  7
                 Upon information and belief, LaCava assisted in developing the
  8
  9              financial performance representations to be used.

 10           x. Tetsch, Director of Sales of AKT, materially aided in the sale of the
 11
                 franchises under AKT Franchisor’s defective FDD and had knowledge
 12
 13              of the facts constituting CFIL violations, including the fact that Anna
 14              Kaiser’s studios were radically different from the studios Plaintiffs
 15
                 would operate, and that Plaintiffs would never achieve the level of
 16
 17              performance that Anna Kaiser’s locations would produce. Testch
 18              materially aided in the violation of the CFIL by distributing and
 19
                 discussing the FDDs containing these misrepresentations and omitted
 20
 21              distinctions between Anna Kaiser’s studios and studios that Plaintiffs
 22              would operate as franchisees.
 23
              y. Holobinko materially aided in the sale of the franchises under AKT
 24
 25              Franchisor’s defective FDDs, and had knowledge of the facts
 26              constituting CFIL violations, including the fact that Anna Kaiser’s
 27
                 studios were radically different from the studios Plaintiffs would
 28

                                            85
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 86 of 143 Page ID
                                 #:3798



  1               operate, and that Plaintiffs would never achieve the level of

  2               performance that Anna Kaiser’s locations would produce. Holobinko
  3
                  materially aided in the violation of the CFIL by distributing and
  4
  5               discussing the FDDs containing these misrepresentations and omitted

  6               distinctions between Anna Kaiser’s studios and studios that Plaintiffs
  7
                  would operate as franchisees.
  8
  9            z. Wehrkamp had knowledge of the facts constituting CFIL violations,

 10               including the fact that Anna Kaiser’s studios were radically different
 11
                  from the studios Plaintiffs would operate, and that Plaintiffs would
 12
 13               never achieve the level of performance that Anna Kaiser’s locations
 14               would produce. Wehrkamp materially aided in the violation of the
 15
                  CFIL by distributing and discussing the FDDs containing these
 16
 17               misrepresentations and omitted distinctions between Anna Kaiser’s
 18               studios and studios that Plaintiffs would operate as franchisees.
 19
      278.   AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 20
 21      the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 22      SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 23
      279. Plaintiffs are entitled to attorney fees and costs incurred as a result of
 24
 25      Defendants’ violations.
 26                          SEVENTH CAUSE OF ACTION
 27
 28

                                              86
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 87 of 143 Page ID
                                 #:3799



  1     VIOLATION OF CFIL § 31200 AND § 32101: WILLFULLY UNTRUE
      FINANCIAL PERFORMANCE REPRESENTATIONS AND FAILURE TO
  2     DISCLOSE FINANCIAL PERFORMANCE REPRESENTATIONS IN
  3              FRANCHISE DISCLOSURE DOCUMENTS

  4                              (Plaintiffs Against Defendants)
  5
      280. Plaintiffs incorporate the allegations contained in the preceding paragraphs
  6
  7      as if fully restated herein.

  8 281. At discovery day and in phone calls in the week leading up to discovery day
  9
       of each of Plaintiffs, AKT Franchisor and its personnel represented to Plaintiffs
 10
 11    that they would reach 100 members prior to opening a studio (referred to by

 12      AKT Franchisor as “pre-opening”), 200 members during “soft opening” (the
 13
         period between opening of the studio and the grand opening event), and 300
 14
 15      members by their grand opening event.
 16   282. AKT Franchisor and its personnel also represented to Plaintiffs the monthly
 17
         membership fees Plaintiffs would be charging members based on their studio
 18
 19      “tier.”
 20   283. The     above     representations   are,   together,    “financial   performance
 21
         representations,” as that term is used in the FTC Franchise Rule. The
 22
 23      combination of these two representations permitted Plaintiffs to readily calculate
 24      the monthly gross revenues they would expect, which enabled them to complete
 25
         partially filled pro formas provided by AKT Franchisor and to develop their
 26
 27      franchise sales projections.
 28

                                               87
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 88 of 143 Page ID
                                 #:3800



  1 284. Having already represented that Plaintiffs could expect to open their studios
  2      twelve weeks after signing their respective Franchise Agreements, Defendants
  3
         effectively represented to Plaintiffs not only the expected gross revenue, but also
  4
  5      that this expected gross revenue would be achieved within a month of opening

  6      their respective studios.
  7
      285. AKT Franchisor did not include these financial performance representations
  8
  9      in any FDD disclosed to Plaintiffs, in violation of the FTC Franchise Rule and

 10      CFIL Section 31200.
 11
      286. Plaintiffs did not achieve the membership levels represented by AKT
 12
 13      Franchisor.
 14 287. In fact, the very design of the studios dictated by AKT Franchisor was too
 15
       small to ever accommodate the number of members in a class that would be
 16
 17    required to make AKT Franchisor’s representations true. While AKT Franchisor
 18      provided in its calculations and drawings for 30 members in regular classes and
 19
         25 members in band classes, only 20 to 22 members could fit in the studio room
 20
 21      for regular classes and only 16 in band classes.
 22 288. Upon information and belief, no other franchisee in the AKT franchise
 23
       system nor any AKT studio operated by AKT Franchisor achieved those levels.
 24
 25 289. AKT Franchisor had no reasonable basis to make the financial performance
 26      representations and they were, when made, false.
 27
      290. AKT Franchisor’s violation was knowing and willful.
 28

                                               88
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 89 of 143 Page ID
                                 #:3801



  1 291. Plaintiffs reasonably relied on AKT Franchisor’s representations and were
  2      induced by them to enter into the Agreements.
  3
      292. Due to the falsity of the representations and AKT Franchisor’s failure to
  4
  5      disclose them in the respective franchise disclosure documents, Plaintiffs’

  6      financial projections were never achieved. Instead, Plaintiffs lost thousands and
  7
         tens of thousands of dollars each month operating their studios at a loss until
  8
  9      they were finally forced to close (except as to Laura’s studio, which continues

 10      to operate at a significant loss and will inevitably meet the same fate).
 11
      293.   Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or
 12
 13      indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
 14      Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
 15
         similar status or performing similar functions, or 3) one who materially aided in
 16
 17      the act or transaction that constituted a violation under the CFIL. They are
 18      therefore jointly and severally liable for the CFIL violations described above.
 19
         Specifically:
 20
 21            a. Xponential is the direct parent and sole member of AKT Franchisor,
 22                and therefore directly controls AKT Franchisor.
 23
               b. Xpo Holdings is the direct parent and sole member of Xponential and
 24
 25                therefore indirectly controls AKT Franchisor.
 26            c. As Xpo Inc. states in its public filings with the U.S. Securities and
 27
                   Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 28

                                               89
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 90 of 143 Page ID
                                 #:3802



  1              business and control[s] the strategic decisions and day-to-day

  2              operations of [Xponential] through [its] ownership of Xpo Holdings .
  3
                 . . .” Xpo Inc. indirectly controls AKT Franchisor.
  4
  5           d. Geisler and Grabowski indirectly control AKT Franchisor through

  6              their ownership interests and/or rights guaranteed in governing
  7
                 documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
  8
  9              Investco LP, H&W Investco II LP, and the general partner of H&W

 10              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
 11
                 Mark Grabowski Anthony Geisler). These intermediary entities
 12
 13              (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
 14              indirectly control AKT Franchisor.
 15
              e. Geisler directly controls AKT Franchisor and is a principal executive
 16
 17              officer and director of AKT Franchisor, Xpo Inc., and each of the rest
 18              of the Corporate Defendants, had knowledge of the facts constituting
 19
                 CFIL violations, and materially aided in preparing, distributing, and
 20
 21              discussing the FDDs containing material omissions.
 22           f. Grabowski directly controls AKT Franchisor and is a principal
 23
                 executive officer of AKT Franchisor, and director of Xpo Inc. and each
 24
 25              of the rest of the Corporate Defendants.
 26           g. Morris is a director of Xpo Inc. and has been since May 2019.
 27
 28

                                            90
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 91 of 143 Page ID
                                 #:3803



  1           h. Chordock, President of AKT Franchisor, was a principal executive

  2              officer of AKT Franchisor.
  3
              i. Junk, Chief Operating Officer of the Corporate Defendants, was a
  4
  5              principal executive officer of the Corporate Defendants.

  6           j. Moen, Executive Vice President of Finance of the Corporate
  7
                 Defendants, was a principal executive officer of the Corporate
  8
  9              Defendants.

 10           k. Meloun, Chief Financial Officer of the Corporate Defendants, was a
 11
                 principal executive officer of the Corporate Defendants.
 12
 13           l. Luna, the President of Xponential, was a principal executive officer of
 14              the Corporate Defendants.
 15
              m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal
 16
 17              executive officer of AKT Franchisor, had knowledge of the facts
 18              constituting CFIL violations, and made the financial performance
 19
                 representations to Plaintiffs at discovery day and/or failed to disaffirm
 20
 21              them when they were made at discovery day, knowing that they were
 22              not in AKT Franchisor’s FDD and knowing that they were not
 23
                 supported by a reasonable basis.
 24
 25           n. Wiles, Director of Finance of AKT, performed the functions of a
 26              principal executive officer of AKT Franchisor, and made the financial
 27
                 performance representations to Plaintiffs at discovery day and in
 28

                                              91
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 92 of 143 Page ID
                                 #:3804



  1              meetings with Plaintiffs after discovery day to develop pro formas,

  2              knowing that they were not in AKT Franchisor’s FDD and knowing
  3
                 that they were not supported by a reasonable basis.
  4
  5           o. Cordova, Corporate Controller, performed the functions of a principal

  6              executive officer of AKT Franchisor, had knowledge of the facts
  7
                 constituting CFIL violations, and made the financial performance
  8
  9              representations to Plaintiffs at discovery day and/or failed to disaffirm

 10              them when they were made at discovery day, knowing that they were
 11
                 not in AKT Franchisor’s FDD and knowing that they were not
 12
 13              supported by a reasonable basis.
 14           p. Losco, Vice President of Franchise Development of Xponential and
 15
                 AKT, had knowledge of the facts constituting CFIL violations, and
 16
 17              made the financial performance representations to Plaintiffs in
 18              communications prior to discovery day and/or failed to disaffirm them
 19
                 when they were made at discovery day, knowing that they were not in
 20
 21              AKT Franchisor’s FDD and knowing that they were not supported by
 22              a reasonable basis.
 23
              q. Svilich, Vice President of Operations of AKT, performed the functions
 24
 25              of a principal executive officer of AKT Franchisor, and oversaw the
 26              making of financial performance representations to Plaintiffs at
 27
                 discovery day and failed to disaffirm them, knowing that they were not
 28

                                             92
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 93 of 143 Page ID
                                 #:3805



  1              in AKT Franchisor’s FDD and knowing that they were not supported

  2              by a reasonable basis.
  3
              r. Nolan, Operations Manager of Xpo Inc. knew that the FDDs she
  4
  5              provided to Plaintiffs did not contain the financial performance

  6              representations which were being made by the rest of her sales team at
  7
                 STG and did not disaffirm them.
  8
  9           s. Brown, Vice President of Franchise Development of Xponential,

 10              performed the functions of a principal executive officer of AKT
 11
                 Franchisor, made the financial performance representations verbally
 12
 13              and in pro formas provided to Plaintiffs in the week leading up
 14              discovery day, knowing that they were not in AKT Franchisor’s FDD
 15
                 and knowing that they were not supported by a reasonable basis.
 16
 17           t. Markovic, Manager of Franchise Development Relations of Xpo Inc.,
 18              made the financial performance representations verbally and in pro
 19
                 formas provided to Plaintiffs in the week leading up discovery day,
 20
 21              knowing that they were not in AKT Franchisor’s FDD and knowing
 22              that they were not supported by a reasonable basis.
 23
              u. Freeman, President of Franchise Development, performed the
 24
 25              functions of a principal executive officer of the Corporate Defendants,
 26              made the financial performance representations verbally and in pro
 27
                 formas provided to Plaintiffs in the week leading up discovery day,
 28

                                            93
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 94 of 143 Page ID
                                 #:3806



  1              knowing that they were not in AKT Franchisor’s FDD and knowing

  2              that they were not supported by a reasonable basis.
  3
              v. Cooper, Director of Development, had knowledge of the facts
  4
  5              constituting CFIL violations and heard, but failed to disaffirm them

  6              when they were made at discovery day, knowing that they were not in
  7
                 AKT Franchisor’s FDD and knowing that they were not supported by
  8
  9              a reasonable basis.

 10           w. LaCava, Director of Franchise Development of Xponential, materially
 11
                 aided in the sale of the franchises under AKT Franchisor’s defective
 12
 13              FDDs, was central to the franchise sales process with Plaintiffs, and
 14              made the financial performance representations provided to Plaintiffs
 15
                 in the week leading up discovery day, knowing that they were not in
 16
 17              AKT Franchisor’s FDD and knowing that they were not supported by
 18              a reasonable basis.
 19
              x. Tetsch, Director of Sales of AKT, had knowledge of the facts
 20
 21              constituting CFIL violations, and made the financial performance
 22              representations to Plaintiffs at discovery day and/or failed to disaffirm
 23
                 them when they were made at discovery day, knowing that they were
 24
 25              not in AKT Franchisor’s FDD and knowing that they were not
 26              supported by a reasonable basis.
 27
 28

                                             94
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 95 of 143 Page ID
                                 #:3807



  1             y. Holobinko had knowledge of the facts constituting CFIL violations,

  2                and made the financial performance representations to Plaintiffs
  3
                   knowing that they were not in AKT Franchisor’s FDD and knowing
  4
  5                that they were not supported by a reasonable basis.

  6             z. Wehrkamp had knowledge of the facts constituting CFIL violations,
  7
                   and made the financial performance representations to Plaintiffs
  8
  9                knowing that they were not in AKT Franchisor’s FDD and knowing

 10                that they were not supported by a reasonable basis.
 11
      294.   AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 12
 13      the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 14      SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 15
      295. Plaintiffs are entitled to attorney fees and costs incurred as a result of
 16
 17      Defendants’ violations.
 18                             EIGHTH CAUSE OF ACTION
 19
         VIOLATION OF CFIL § 31200: FAILURE TO DISCLOSE USE OF A
 20       PUBLIC FIGURE IN FRANCHISE DISCLOSURE DOCUMENTS
 21
       (Dance Fitness Michigan, LLC, Deanna, 6PK Mason LLC, 6PK Liberty LLC,
 22    Amanda, Teeny Turner LLC, Nisha, S2 Fitness Enterprises, LLC, Samantha,
 23     Suzanne, Soros & Associates, LLC, Nichole, Michael, AdEdge Services Inc.,
                       Paul, Jodi, and Laura. Against Defendants)
 24
 25 296. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 26      as if fully restated herein.
 27
 28

                                              95
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 96 of 143 Page ID
                                 #:3808



  1 297. Anna Kaiser is a well-known celebrity trainer “[w]ith clients like Kelly Ripa,
  2     Shakira, [and] Sarah Jessica Parker.” Anna Kaiser has been featured in Vogue,
  3
        The NYTimes, Cosmopolitan, US Weekly, The Today Show, Good Morning
  4
  5     America, SELF, Glamour, Shape, WWD, E!, InStyle, W Magazine, Women’s

  6     Health, Well&Good, and has been a contributing editor for People Magazine.
  7
        Anna Kaiser co-hosted the primetime ABC Series “My Diet is Better than
  8
  9     Yours” and partnered with Target to create the C9 Limited Edition by Anna

 10     Kaiser, available in stores nationwide. NBC’s “Know Your Value” deemed her
 11
        the “reigning queen of fitness” and she was selected as one of Greatist’s 100
 12
 13     Most Influential People in Health and Fitness.
 14 298. AKT Franchisor was well aware of Anna Kaiser’s celebrity status and used
 15
       it to attract Plaintiffs to the franchise system.
 16
 17 299. Anna Kaiser is a public figure for purposes of Item 18 of the FTC Rule.
 18   300. Under the FTC Franchise Rule, AKT Franchisor was required to disclose in
 19
        Item 18 of its franchise disclosure documents the following:
 20
 21            a. Any compensation or other benefit given or promised to Anna Kaiser
 22               arising from either the use of Anna Kaiser in the franchise name or
 23
                  symbol, or Anna Kaiser’s endorsement or recommendation of the
 24
 25               franchise to prospective franchisees.
 26
 27
 28

                                             96
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 97 of 143 Page ID
                                 #:3809



  1            b. The extent to which Anna Kaiser is involved in the management or

  2               control of the franchisor. Describe Anna Kaiser’s position and duties
  3
                  in the franchisor’s business structure.
  4
  5            c. Anna Kaiser’s total investment in the franchisor, including the amount

  6               Anna Kaiser contributed in services performed or to be performed.
  7
                  State the type of investment (for example, common stock, promissory
  8
  9               note).

 10 301. AKT Franchisor never disclosed the information about Anna Kaiser in Item
 11
       18 of its FDD, including Anna’s role as a member of the Board of Managers of
 12
 13    AKT Franchisor, the services she performed or promised to perform under her
 14     consulting agreement, and other aspects of her relationship and involvement
 15
        with AKT Franchisor and the AKT brand.
 16
 17 302. AKT Franchisor’s failures are violations of CFIL § 31200 and § 31201.
 18 303. AKT Franchisor’s violation was knowing and willful.
 19
    304. Had the information required to be disclosed actually been disclosed,
 20
 21     including the true nature of AKT Franchisor’s relationship with Anna Kaiser,
 22     Plaintiffs would not have executed their respective Agreements.
 23
      305.   Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or
 24
 25     indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
 26     Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
 27
        similar status or performing similar functions, or 3) one who materially aided in
 28

                                              97
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 98 of 143 Page ID
                                 #:3810



  1     the act or transaction that constituted a violation under the CFIL. They are

  2     therefore jointly and severally liable for the CFIL violations described above.
  3
        Specifically:
  4
  5           a. Xponential is the direct parent and sole member of AKT Franchisor,

  6              and therefore directly controls AKT Franchisor.
  7
              b. Xpo Holdings is the direct parent and sole member of Xponential and
  8
  9              therefore indirectly controls AKT Franchisor.

 10           c. As Xpo Inc. states in its public filings with the U.S. Securities and
 11
                 Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 12
 13              business and control[s] the strategic decisions and day-to-day
 14              operations of [Xponential] through [its] ownership of Xpo Holdings .
 15
                 . . .” Xpo Inc. indirectly controls AKT Franchisor.
 16
 17           d. Geisler and Grabowski indirectly control AKT Franchisor through
 18              their ownership interests and/or rights guaranteed in governing
 19
                 documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
 20
 21              Investco LP, H&W Investco II LP, and the general partner of H&W
 22              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
 23
                 Mark Grabowski Anthony Geisler). These intermediary entities
 24
 25              (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
 26              indirectly control AKT Franchisor.
 27
 28

                                            98
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 99 of 143 Page ID
                                 #:3811



  1           e. Geisler directly controls AKT Franchisor and is a principal executive

  2              officer and director of AKT Franchisor, Xpo Inc., and each of the rest
  3
                 of the Corporate Defendants, had knowledge of the facts constituting
  4
  5              CFIL violations, and materially aided in preparing, distributing, and

  6              discussing the FDDs containing material omissions.
  7
              f. Grabowski directly controls AKT Franchisor and is a principal
  8
  9              executive officer of AKT Franchisor, and director of Xpo Inc. and each

 10              of the rest of the Corporate Defendants.
 11
              g. Morris is a director of Xpo Inc. and has been since May 2019.
 12
 13           h. Chordock, President of AKT Franchisor, was a principal executive
 14              officer of AKT Franchisor.
 15
              i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 16
 17              principal executive officer of the Corporate Defendants.
 18           j. Moen, Executive Vice President of Finance of the Corporate
 19
                 Defendants, was a principal executive officer of the Corporate
 20
 21              Defendants.
 22           k. Meloun, Chief Financial Officer of the Corporate Defendants, was a
 23
                 principal executive officer of the Corporate Defendants.
 24
 25           l. Luna, the President of Xponential, was a principal executive officer of
 26              the Corporate Defendants.
 27
 28

                                              99
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 100 of 143 Page ID
                                  #:3812



  1           m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal

  2              executive officer of AKT Franchisor, and touted Anna Kaiser’s
  3
                 celebrity status and promised involvement in the franchise, knowing
  4
  5              that AKT Franchisor had not disclosed this information in its FDDs.

  6           n. Wiles, Director of Finance of AKT, performed the functions of a
  7
                 principal executive officer of AKT Franchisor, and touted Anna
  8
  9              Kaiser’s celebrity status and promised involvement in the franchise,

 10              knowing that AKT Franchisor had not disclosed this information in its
 11
                 FDDs.
 12
 13           o. Cordova, Corporate Controller, performed the functions of a principal
 14              executive officer of AKT Franchisor, and touted Anna Kaiser’s
 15
                 celebrity status and promised involvement in the franchise, knowing
 16
 17              that AKT Franchisor had not disclosed this information in its FDDs.
 18           p. Losco, Vice President of Franchise Development of Xponential and
 19
                 AKT, and touted Anna Kaiser’s celebrity status and promised
 20
 21              involvement in the franchise, knowing that AKT Franchisor had not
 22              disclosed this information in its FDDs.
 23
              q. Svilich, Vice President of Operations of AKT, performed the functions
 24
 25              of a principal executive officer of AKT Franchisor, and touted Anna
 26              Kaiser’s celebrity status and promised involvement in the franchise,
 27
 28

                                           100
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 101 of 143 Page ID
                                  #:3813



  1              knowing that AKT Franchisor had not disclosed this information in its

  2              FDDs.
  3
              r. Brown, Vice President of Franchise Development of Xponential,
  4
  5              performed the functions of a principal executive officer of AKT

  6              Franchisor, and touted Anna Kaiser’s celebrity status and promised
  7
                 involvement in the franchise, knowing that AKT Franchisor had not
  8
  9              disclosed this information in its FDDs.

 10           s. Markovic, Manager of Franchise Development Relations of Xpo Inc.,
 11
                 touted Anna Kaiser’s celebrity status and promised involvement in the
 12
 13              franchise, knowing that AKT Franchisor had not disclosed this
 14              information in its FDDs.
 15
              t. Freeman, President of Franchise Development, performed the
 16
 17              functions of a principal executive officer of the Corporate Defendants,
 18              and touted Anna Kaiser’s celebrity status and promised involvement
 19
                 in the franchise, knowing that AKT Franchisor had not disclosed this
 20
 21              information in its FDDs.
 22           u. Cooper, Director of Development, touted Anna Kaiser’s celebrity
 23
                 status and promised involvement in the franchise, knowing that AKT
 24
 25              Franchisor had not disclosed this information in its FDDs.
 26           v. LaCava, Director of Franchise Development of Xponential, materially
 27
                 aided in the sale of the franchises under AKT Franchisor’s defective
 28

                                            101
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 102 of 143 Page ID
                                  #:3814



  1               FDDs, was central to the franchise sales process with Plaintiffs, and

  2               materially aided in distributing and discussing the FDDs containing
  3
                  material omissions, which he knew to be incomplete and inaccurate.
  4
  5            w. Tetsch, Director of Sales of AKT, touted Anna Kaiser’s celebrity status

  6               and promised involvement in the franchise, knowing that AKT
  7
                  Franchisor had not disclosed this information in its FDDs.
  8
  9            x. Holobinko touted Anna Kaiser’s celebrity status and promised

 10               involvement in the franchise, knowing that AKT Franchisor had not
 11
                  disclosed this information in its FDDs.
 12
 13            y. Wehrkamp touted Anna Kaiser’s celebrity status and specifically her
 14               promised involvement in the franchise system, knowing that AKT
 15
                  Franchisor had not disclosed this information in its FDDs and knowing
 16
 17               it was not accurate.
 18 306. AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 19
       the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 20
 21      SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 22 307. Plaintiffs are entitled to attorney fees and costs incurred as a result of
 23
       Defendants’ violations.
 24
 25                            NINTH CAUSE OF ACTION
 26  VIOLATION OF CFIL § 31200 AND § 32101: FAILURE TO DISCLOSE
 27 CHANGES OF CONTROL AND PUBLIC OFFERING OF SECURITIES IN
               FRANCHISE DISCLOSURE DOCUMENTS
 28

                                             102
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 103 of 143 Page ID
                                  #:3815



  1
       (Mason Franchisee, Nisha, Tampa Franchisee, East Florida Franchisee, and
  2     Laura Against Geisler, Grabowski, Morris, Chordock, Junk, Moen, Meloun,
  3                                      Luna)

  4 308. Plaintiffs incorporate the allegations contained in the preceding paragraphs
  5
         as if fully restated herein.
  6
  7 309. In the 2018 FDD, AKT reported that Xponential was its parent company, and
  8      that Xponential was owned by H&W Franchise Holdings, LLC (“H&W”).
  9
      310. On June 28, 2018, a change of control in H&W, and thus AKT, occurred.
 10
 11   311. The change of control was a material change in AKT Franchisor’s hierarchy.

 12   312. The change of control was not reflected in Item 1 of any AKT FDD following
 13
         its occurrence.
 14
 15   313. On February 13, 2020, Xponential Inc. filed a draft Form S-1 Registration
 16      Statement with the SEC, disclosing its intentions to become a publicly traded
 17
         company.
 18
 19   314. No reference of Xponential Inc.’s plans to become a publicly traded company
 20      was made in the 2020 FDD or 2021 FDD, nor did AKT Franchisor cease selling
 21
         franchises or otherwise notice prospective franchisees of the likely change in
 22
 23      ownership and control. Only in the 2022 FDD, registered in California on April
 24      1, 2022, did AKT first mention that Xponential Inc. was publicly traded.
 25
      315. The decisions to permit a change of control of AKT Franchisor’s parent
 26
 27      company and to cause the controlling entity of AKT Franchisor to become
 28

                                             103
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 104 of 143 Page ID
                                  #:3816



  1      publicly traded are material and should have resulted in immediate amendments

  2      to AKT Franchisor’s franchise disclosure documents.
  3
      316. AKT Franchisor did not seasonally amend its franchise disclosure documents
  4
  5      to disclose this material information– a violation of CFIL § 31200 and § 31123.

  6 317. AKT Franchisor’s violation was knowing and willful.
  7
    318. AKT Franchisor’s failure to disclose its changes in control and impending
  8
  9    public offering resulted in Mason Franchisee, Nisha, Tampa Franchisee, and

 10      East Florida Franchisee executing Agreements with AKT Franchisor that they
 11
         otherwise would not have executed. They are entitled to rescind these
 12
 13      Agreements and to be placed in the position they would have been in had they
 14      not executed these Agreements. In the alternative, they are entitled to damages
 15
         resulting from Defendants’ failure to timely disclose changes its changes in
 16
 17      control and public offering.
 18 319. Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or
 19
       indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
 20
 21      Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
 22      similar status or performing similar functions, or 3) one who materially aided in
 23
         the act or transaction that constituted a violation under the CFIL. They are
 24
 25      therefore jointly and severally liable for the CFIL violations described above.
 26      Specifically:
 27
 28

                                             104
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 105 of 143 Page ID
                                  #:3817



  1           a. Xponential is the direct parent and sole member of AKT Franchisor,

  2              and therefore directly controls AKT Franchisor.
  3
              b. Xpo Holdings is the direct parent and sole member of Xponential and
  4
  5              therefore indirectly controls AKT Franchisor.

  6           c. As Xpo Inc. states in its public filings with the U.S. Securities and
  7
                 Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
  8
  9              business and control[s] the strategic decisions and day-to-day

 10              operations of [Xponential] through [its] ownership of Xpo Holdings .
 11
                 . . .” Xpo Inc. indirectly controls AKT Franchisor.
 12
 13           d. Geisler and Grabowski indirectly control AKT Franchisor through
 14              their ownership interests and/or rights guaranteed in governing
 15
                 documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
 16
 17              Investco LP, H&W Investco II LP, and the general partner of H&W
 18              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
 19
                 Mark Grabowski Anthony Geisler). These intermediary entities
 20
 21              (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
 22              indirectly control AKT Franchisor.
 23
              e. Geisler directly controls AKT Franchisor and is a principal executive
 24
 25              officer and director of AKT Franchisor, Xpo Inc., and each of the rest
 26              of the Corporate Defendants, had knowledge of the facts constituting
 27
 28

                                            105
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 106 of 143 Page ID
                                  #:3818



  1               CFIL violations, and materially aided in preparing, distributing, and

  2               discussing the FDDs containing material omissions.
  3
               f. Grabowski directly controls AKT Franchisor and is a principal
  4
  5               executive officer of AKT Franchisor, and director of Xpo Inc. and each

  6               of the rest of the Corporate Defendants.
  7
               g. Morris is a director of Xpo Inc. and has been since May 2019.
  8
  9            h. Chordock, President of AKT Franchisor, was a principal executive

 10               officer of AKT Franchisor.
 11
               i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 12
 13               principal executive officer of the Corporate Defendants.
 14            j. Moen, Executive Vice President of Finance of the Corporate
 15
                  Defendants, was a principal executive officer of the Corporate
 16
 17               Defendants.
 18            k. Meloun, Chief Financial Officer of the Corporate Defendants, was a
 19
                  principal executive officer of the Corporate Defendants.
 20
 21            l. Luna, the President of Xponential, was a principal executive officer of
 22               the Corporate Defendants.
 23
      320.   AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 24
 25     the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 26     SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 27
 28

                                              106
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 107 of 143 Page ID
                                  #:3819



  1 321. Plaintiffs are entitled to attorney fees and costs incurred as a result of
  2      Defendants’ violations.
  3
                                 TENTH CAUSE OF ACTION
  4
  5   VIOLATION OF CFIL § 31200: FAILURE TO DISCLOSE BANKRUPTCY
                IN FRANCHISE DISCLOSURE DOCUMENTS
  6
  7     (East Florida Franchisee, Paul, Jodi, Tampa Franchisee, Nichole, Michael,
               Chicago Franchisee, Nisha, and Laura Against Defendants)
  8
  9 322. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 10      as if fully restated herein.
 11
      323. The CFIL, through the FTC Franchise Rule, requires AKT Franchisor to
 12
 13      disclose in its franchise disclosure documents whether anyone with management
 14      responsibility relating to sales or operation of AKT franchises had, in the past
 15
         ten years, filed a petition for bankruptcy or obtained a discharge of debts in
 16
 17      bankruptcy.
 18 324. Losco was the Vice President of Franchise Development for Xponential since
 19
       May 2018 and for AKT since January 2019.
 20
 21 325. Losco filed a voluntary petition for individual bankruptcy in the Central
 22      District of California on May 5, 2019.
 23
      326. Losco obtained a discharge of his debts (including, apparently, debts related
 24
 25      to operation of UFC fitness franchises, the brand for which Geisler was formerly
 26      President) under the Bankruptcy Code on August 26, 2019.
 27
 28

                                             107
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 108 of 143 Page ID
                                  #:3820



  1 327. AKT Franchisor willfully failed to disclose this bankruptcy in any franchise
  2      disclosure document in violation of the CFIL.
  3
      328. Plaintiffs relied on AKT Franchisor’s representation that no director, officer,
  4
  5      or manager had filed for bankruptcy in the preceding ten years in executing their

  6      respective Agreements. Had AKT Franchisor properly disclosed Losco’s
  7
         bankruptcy, Plaintiffs would not have entered into the Agreements.
  8
  9 329.     Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or

 10      indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
 11
         Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
 12
 13      similar status or performing similar functions, or 3) one who materially aided in
 14      the act or transaction that constituted a violation under the CFIL. They are
 15
         therefore jointly and severally liable for the CFIL violations described above.
 16
 17      Specifically:
 18            a. Xponential is the direct parent and sole member of AKT Franchisor,
 19
                   and therefore directly controls AKT Franchisor.
 20
 21            b. Xpo Holdings is the direct parent and sole member of Xponential and
 22                therefore indirectly controls AKT Franchisor.
 23
               c. As Xpo Inc. states in its public filings with the U.S. Securities and
 24
 25                Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 26                business and control[s] the strategic decisions and day-to-day
 27
 28

                                              108
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 109 of 143 Page ID
                                  #:3821



  1              operations of [Xponential] through [its] ownership of Xpo Holdings .

  2              . . .” Xpo Inc. indirectly controls AKT Franchisor.
  3
              d. Geisler and Grabowski indirectly control AKT Franchisor through
  4
  5              their ownership interests and/or rights guaranteed in governing

  6              documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
  7
                 Investco LP, H&W Investco II LP, and the general partner of H&W
  8
  9              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for

 10              Mark Grabowski Anthony Geisler). These intermediary entities
 11
                 (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
 12
 13              indirectly control AKT Franchisor.
 14           e. Geisler directly controls AKT Franchisor and is a principal executive
 15
                 officer and director of AKT Franchisor, Xpo Inc., and each of the rest
 16
 17              of the Corporate Defendants, had knowledge of the facts constituting
 18              CFIL violations, and materially aided in preparing, distributing, and
 19
                 discussing the FDDs containing material omissions.
 20
 21           f. Grabowski directly controls AKT Franchisor and is a principal
 22              executive officer of AKT Franchisor, and director of Xpo Inc. and each
 23
                 of the rest of the Corporate Defendants.
 24
 25           g. Morris is a director of Xpo Inc. and has been since May 2019.
 26           h. Chordock, President of AKT Franchisor, was a principal executive
 27
                 officer of AKT Franchisor.
 28

                                            109
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 110 of 143 Page ID
                                  #:3822



  1           i. Junk, Chief Operating Officer of the Corporate Defendants, was a

  2              principal executive officer of the Corporate Defendants.
  3
              j. Moen, Executive Vice President of Finance of the Corporate
  4
  5              Defendants, was a principal executive officer of the Corporate

  6              Defendants.
  7
              k. Meloun, Chief Financial Officer of the Corporate Defendants, was a
  8
  9              principal executive officer of the Corporate Defendants.

 10           l. Luna, the President of Xponential, was a principal executive officer of
 11
                 the Corporate Defendants.
 12
 13           m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal
 14              executive officer of AKT Franchisor, had knowledge of the facts
 15
                 constituting CFIL violations, and materially aided in distributing and
 16
 17              discussing the FDDs omitting Losco’s bankruptcy.
 18           n. Wiles, Director of Finance of AKT, performed the functions of a
 19
                 principal executive officer of AKT Franchisor, had knowledge of the
 20
 21              facts constituting CFIL violations, and materially aided in distributing
 22              and discussing the FDDs omitting Losco’s bankruptcy.
 23
              o. Cordova, Corporate Controller, performed the functions of a principal
 24
 25              executive officer of AKT Franchisor, had knowledge of the facts
 26              constituting CFIL violations, and materially aided in distributing and
 27
                 discussing the FDDs omitting Losco’s bankruptcy.
 28

                                             110
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 111 of 143 Page ID
                                  #:3823



  1           p. Losco, Vice President of Franchise Development of Xponential and

  2              AKT, had knowledge of the facts constituting CFIL violations, and
  3
                 particularly his own bankruptcy and its non-inclusion in the FDDs, and
  4
  5              materially aided in distributing and discussing the FDDs containing the

  6              material omission.
  7
              q. Svilich, Vice President of Operations of AKT, performed the functions
  8
  9              of a principal executive officer of AKT Franchisor, had knowledge of

 10              the facts constituting CFIL violations, and materially aided in
 11
                 distributing and discussing the FDDs omitting Losco’s bankruptcy.
 12
 13           r. Nolan, Operations Manager of Xpo Inc., had knowledge of the facts
 14              constituting CFIL violations, and materially aided in distributing and
 15
                 discussing the FDDs omitting Losco’s bankruptcy.
 16
 17           s. Brown, Vice President of Franchise Development of Xponential,
 18              performed the functions of a principal executive officer of AKT
 19
                 Franchisor, and had knowledge of the facts constituting CFIL
 20
 21              violations, and materially aided in distributing and discussing the
 22              FDDs omitting Losco’s bankruptcy.
 23
              t. Markovic, Manager of Franchise Development Relations of Xpo Inc.,
 24
 25              had knowledge of the facts constituting CFIL violations, and
 26              materially aided in distributing and discussing the FDDs omitting
 27
                 Losco’s bankruptcy.
 28

                                            111
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 112 of 143 Page ID
                                  #:3824



  1           u. Freeman, President of Franchise Development, performed the

  2              functions of a principal executive officer of the Corporate Defendants,
  3
                 had knowledge of the facts constituting CFIL violations, and
  4
  5              materially aided in distributing and discussing the FDDs omitting

  6              Losco’s bankruptcy.
  7
              v. Cooper, Director of Development, had knowledge of the facts
  8
  9              constituting CFIL violations, and materially aided in distributing and

 10              discussing the FDDs omitting Losco’s bankruptcy.
 11
              w. LaCava, Director of Franchise Development of Xponential, had
 12
 13              knowledge of the facts constituting CFIL violations, and materially
 14              aided in distributing and discussing the FDDs omitting Losco’s
 15
                 bankruptcy.
 16
 17           x. Tetsch, Director of Sales of AKT, had knowledge of the facts
 18              constituting CFIL violations, and materially aided in distributing and
 19
                 discussing the FDDs omitting Losco’s bankruptcy.
 20
 21           y. Holobinko had knowledge of the facts constituting CFIL violations,
 22              and materially aided in distributing and discussing the FDDs omitting
 23
                 Losco’s bankruptcy.
 24
 25           z. Wehrkamp had knowledge of the facts constituting CFIL violations,
 26              and materially aided in distributing and discussing the FDDs omitting
 27
                 Losco’s bankruptcy.
 28

                                            112
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 113 of 143 Page ID
                                  #:3825



  1 330.     AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for

  2     the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
  3
        SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
  4
  5 331. Plaintiffs are entitled to attorney fees and costs incurred as a result of
  6      Defendants’ violations.
  7
                             ELEVENTH CAUSE OF ACTION
  8
  9    BREACH OF CONTRACT AND CONVENANT OF GOOD FAITH AND
           FAIR DEALING: UNDERCUTTING MEMBERSHIP SALES
 10
 11   (Franchisees Against AKT Franchisor, Xponential, and AKT Franchisor SPV)

 12 332. Franchisees incorporate the allegations contained in the preceding paragraphs
 13
       as if fully restated herein.
 14
 15 333. In Section 1.3 of the Franchise Agreements, AKT Franchisor granted to
 16      Franchisees the right to operate an AKT franchise at an authorized location and
 17
         agreed that neither it nor its affiliates would operate or establish another AKT
 18
 19      studio within the Franchisees’ respective territories.
 20 334. While Franchisees were operating studios in their respective territories,
 21
       Xponential and AKT Franchisor announced XPASS, a program allowing
 22
 23      prospective members of Plaintiffs’ AKT studios to purchase an XPASS
 24      subscription or package directly from Xponential, which permitted the members
 25
         to access classes at all Xponential brands inside and outside of Plaintiffs’
 26
 27      respective territories, and including at Plaintiffs’ studios.
 28

                                                113
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 114 of 143 Page ID
                                  #:3826



  1 335. Instead of prospective members having to agree to a monthly or annual
  2      membership or a class pack with Plaintiffs, they could instead purchase an
  3
         XPASS subscription from Xponential, often at discounts of up to 50%, and have
  4
  5      the same access to Plaintiffs’ studios and classes.

  6 336. Instead of receiving a monthly membership fee from members, Plaintiffs
  7
       received only a per-class payment from Xponential, typically only a few dollars.
  8
  9 337. Xponential’s XPASS directly competed against Plaintiffs’ AKT studios.
 10 338. Xponential advertised its XPASS broadly, even in zip codes where Plaintiffs’
 11
       studios were located.
 12
 13 339. After the launch of XPASS, sales of monthly memberships and class packs
 14      became increasingly difficult for Plaintiffs, who were now left to try to convince
 15
         the same prospective members targeted by Xponential for its XPASS that they
 16
 17      should instead sign up for a membership limited only to the AKT studio.
 18   340. Not only did XPASS directly compete for members and member dollars with
 19
         Plaintiffs, but XPASS also deflated Plaintiffs’ already-struggling financial
 20
 21      model even more. Plaintiffs were effectively subsidizing XPASS for Xponential.
 22   341. The introduction of XPASS by AKT Franchisor and Xponential is an explicit
 23
         breach of Section 1.3 of the Franchise Agreements because AKT Franchisor and
 24
 25      Xponential offered and sold classes to be performed by Plaintiffs at their own
 26      studios.
 27
 28

                                              114
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 115 of 143 Page ID
                                  #:3827



  1 342. Xponential did not reserve for itself in the Franchise Agreements the right to
  2      sell access to the classes offered by Plaintiffs at Plaintiffs’ studios.
  3
      343. The introduction of XPASS is also a breach of the covenants of good faith
  4
  5      and fair dealing contained in the Franchise Agreements’ Section 1.3 and 1.4,

  6      which, while permitting delivery of products and services through alternate
  7
         channels of distribution, do not permit or contemplate AKT Franchisor or
  8
  9      Xponential intercepting Plaintiffs’ membership customers and separately

 10      contracting with them, then effectively subcontracting those customers back to
 11
         Plaintiffs at reduced prices.
 12
 13 344. Plaintiffs were damaged by the breach of the franchise agreements, having
 14      lost members and revenue dollars in an amount to be determined at trial.
 15
      345.   AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 16
 17      the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 18      SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 19
      346. Xponential is similarly liable for breaches of the Franchise Agreements
 20
 21      because, as an affiliate of AKT Franchisor, its conduct is prohibited by the
 22      Franchise Agreements.
 23
 24                           TWELFTH CAUSE OF ACTION
 25
       VIOLATION OF MICHIGAN FRANCHISE INVESTMENT LAW (MCL
 26   445.1508): SALE OF FRANCHISE WITHOUT PROVIDING FRANCHISE
 27                       DISCLOSURE DOCUMENT
 28

                                                115
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 116 of 143 Page ID
                                  #:3828



  1     (Dance Fitness Michigan, LLC and Deanna Against AKT Franchisor, AKT
          Franchisor SPV, Xponential, Xpo Holdings, Xpo Inc., Geisler, Morris,
  2         Chordock, Grabowski, Morris, Moen, Losco, Johnston, and Wiles)
  3
      347. Plaintiffs incorporate the allegations contained in the preceding paragraphs
  4
  5      as if fully restated herein.

  6 348. Section 8 of the Michigan Franchise Investment Law (“MFIL”) requires a
  7
       franchisor to provide a prospective franchisee with a current copy of the
  8
  9    franchisor’s franchise disclosure document at least ten business days prior to

 10      execution of any binding franchise agreement.
 11
      349. On or about June 26, 2019, AKT Franchisor provided a franchise agreement
 12
 13      to Deanna to sign on behalf of herself and Dance Fitness Michigan, LLC for
 14      operation of an AKT franchise studio in Rochester Hills, Michigan.
 15
      350. Prior to executing the franchise agreement for Rochester Hills and obtaining
 16
 17      Deanna and Dance Fitness Michigan, LLC’s signatures for the same, AKT
 18      Franchisor failed to provide a franchise disclosure document to Deanna or Dance
 19
         Fitness Michigan, LLC, as required by the MFIL.
 20
 21 351. Deanna and Dance Fitness Michigan, LLC are entitled to damages and
 22      rescission under the MFIL, plus attorney fees and costs as provided by the MFIL.
 23
      352. Defendants AKT Franchisor SPV, Xponential, Xpo Holdings, Xpo Inc.,
 24
 25      Geisler, Chordock, Grabowski, Morris, Moen, Losco, Johnston, and Wiles, are
 26      jointly and severally liable under the MFIL as persons who directly or indirectly
 27
 28

                                             116
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 117 of 143 Page ID
                                  #:3829



  1      control AKT Franchisor and/or are directors, managers, principal executive

  2      officers, or persons who materially aided in the MFIL violation.
  3
                              THIRTEENTH CAUSE OF ACTION
  4
  5        VIOLATION OF CFIL § 31119: SALE OF FRANCHISE WITHOUT
                              PROVIDING FDD
  6
  7        (Deanna and Dance Fitness Michigan against AKT Franchisor, AKT
         Franchisor SPV, XPOF Assetco, LLC, Xponential, Xpo Holdings, Xpo Inc.,
  8        Lag Fit, Inc., H&W Investco LP, H&W Investco II LP, MGAG, LLC,
  9       Geisler, Grabowski, Morris, Chordock, Junk, Moen, Meloun, Luna, and
                                         Nolan)
 10
 11 353. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 12      as if fully restated herein.
 13
      354. CFIL Section 31119 requires AKT Franchisor to provide, at least 14 days
 14
 15      prior to execution of any franchise or other agreement, or receipt of
 16      consideration, a copy of its FDD.
 17
      355. On or about June 26, 2019, AKT Franchisor provided a franchise agreement
 18
 19      to Deanna to sign on behalf of herself and Dance Fitness Michigan, LLC for
 20      operation of an AKT franchise studio in Rochester Hills, Michigan.
 21
      356. Prior to executing the franchise agreement for Rochester Hills and obtaining
 22
 23      Deanna and Dance Fitness Michigan, LLC’s signatures for the same, AKT
 24      Franchisor failed to provide a franchise disclosure document to Deanna or Dance
 25
         Fitness Michigan, LLC, as required by the CFIL.
 26
 27
 28

                                             117
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 118 of 143 Page ID
                                  #:3830



  1 357. Deanna and Dance Fitness Michigan, LLC are entitled to damages and
  2      rescission under the CFIL, plus attorney fees and costs as provided by the CFIL.
  3
      358.   Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or
  4
  5      indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT

  6      Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
  7
         similar status or performing similar functions, or 3) one who materially aided in
  8
  9     the act or transaction that constituted a violation under the CFIL. They are

 10     therefore jointly and severally liable for the CFIL violations described above.
 11
        Specifically:
 12
 13            a. Xponential is the direct parent and sole member of AKT Franchisor,
 14               and therefore directly controls AKT Franchisor.
 15
               b. Xpo Holdings is the direct parent and sole member of Xponential and
 16
 17               therefore indirectly controls AKT Franchisor.
 18            c. As Xpo Inc. states in its public filings with the U.S. Securities and
 19
                  Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 20
 21               business and control[s] the strategic decisions and day-to-day
 22               operations of [Xponential] through [its] ownership of Xpo Holdings .
 23
                  . . .” Xpo Inc. indirectly controls AKT Franchisor.
 24
 25            d. Geisler and Grabowski indirectly control AKT Franchisor through
 26               their ownership interests and/or rights guaranteed in governing
 27
                  documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
 28

                                             118
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 119 of 143 Page ID
                                  #:3831



  1              Investco LP, H&W Investco II LP, and the general partner of H&W

  2              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
  3
                 Mark Grabowski Anthony Geisler). These intermediary entities
  4
  5              (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly

  6              indirectly control AKT Franchisor.
  7
              e. Geisler directly controls AKT Franchisor and is a principal executive
  8
  9              officer and director of AKT Franchisor, Xpo Inc., and each of the rest

 10              of the Corporate Defendants, had knowledge of the facts constituting
 11
                 CFIL violations, and materially aided in preparing, distributing, and
 12
 13              discussing the FDDs containing material omissions.
 14           f. Grabowski directly controls AKT Franchisor and is a principal
 15
                 executive officer of AKT Franchisor, and director of Xpo Inc. and each
 16
 17              of the rest of the Corporate Defendants.
 18           g. Morris is a director of Xpo Inc. and has been since May 2019.
 19
              h. Chordock, President of AKT Franchisor, was a principal executive
 20
 21              officer of AKT Franchisor.
 22           i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 23
                 principal executive officer of the Corporate Defendants.
 24
 25           j. Moen, Executive Vice President of Finance of the Corporate
 26              Defendants, was a principal executive officer of the Corporate
 27
                 Defendants.
 28

                                           119
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 120 of 143 Page ID
                                  #:3832



  1             k. Meloun, Chief Financial Officer of the Corporate Defendants, was a

  2                principal executive officer of the Corporate Defendants.
  3
                l. Luna, the President of Xponential, was a principal executive officer of
  4
  5                the Corporate Defendants.

  6             m. Nolan, Operations Manager of Xpo Inc., provided the franchise
  7
                   agreement to execute without providing an FDD.
  8
  9 359.     AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for

 10     the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 11
        SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 12
 13 360. Plaintiffs are entitled to attorney fees and costs incurred as a result of
 14     Defendants’ violations.
 15
 16                         FOURTEENTH CAUSE OF ACTION
 17
            VIOLATION OF CFIL § 31201: FALSE AND MISLEADING
 18      STATEMENTS REGARDING SALE OF MIAMI AKT FRANCHISE
 19
      (Paul and Jodi against AKT Franchisor, AKT Franchisor SPV, XPOF Assetco,
 20     LLC, Xponential, Xpo Holdings, Xpo Inc., Lag Fit, Inc., H&W Investco LP,
 21     H&W Investco II LP, MGAG, LLC, Geisler, Grabowski, Morris, Chordock,
             Junk, Moen, Meloun, Luna, and Nolan, Johnston, and Svilich)
 22
 23 361. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 24      as if fully restated herein.
 25
      362. On December 6, 2021, Chordock, Junk, Johnston, and Svilich approached
 26
 27      Paul and Jodi at AKT Franchisor’s annual convention (who were attending their
 28

                                               120
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 121 of 143 Page ID
                                  #:3833



  1      first annual conference as franchisees in the Xponential system), soliciting them

  2      to take over the AKT studio in Miami that had closed during the convention.
  3
      363. Chordock, Junk, Johnston, and Svilich (all acting individually and on behalf
  4
  5      of AKT Franchisor) told Paul and Jodi that the Miami studio had closed abruptly,

  6      but that it would be successful when reopened by Paul and Jodi.
  7
      364. Chordock told Paul and Jodi that they would do whatever was necessary
  8
  9      (including fully supporting Paul and Jodi financially and operationally) to help

 10      them succeed in re-opening Miami, stating they were the “perfect operators” for
 11
         the “premier” Miami studio.
 12
 13 365. Chordock, Junk, Johnston, and Svilich knew that the former franchisees of
 14      the AKT Miami studio were in arbitration with AKT Franchisor and in litigation
 15
         in Orange County, California Superior Court with Chordock, Johnston, Geisler,
 16
 17      and several other individuals associated with Xponential Inc. and AKT
 18      Franchisor.
 19
      366. Even though Chordock and Johnston were named personally as defendants
 20
 21      in the lawsuit, Chordock, Junk, Johnston, and Svilich intentionally concealed
 22      this information from Paul, Jodi, and East Florida Franchisee.
 23
      367. Specifically, Chordock, Junk, Johnston, and Svilich did not disclose that the
 24
 25      former Miami franchisee sued Chordock and Johnston (and were presently in the
 26      middle of the lawsuit) for misrepresentations about the cost to open the AKT
 27
         Miami studio and the number of members the studio would achieve – the same
 28

                                             121
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 122 of 143 Page ID
                                  #:3834



  1      sorts of representations that Chordock and Johnston made to Paul, Jodi, and East

  2      Florida Franchisee about the AKT Miami studio.
  3
      368. Chordock, Junk, Johnston, and Svilich stated that the AKT Miami studio had
  4
  5      more than 150 members when it closed and that this member based remained

  6      largely intact – that most of these members would return quickly to the studio if
  7
         Paul and Jodi reopened it.
  8
  9 369. Chordock, Junk, Johnston, and Svilich did not truthfully disclose why the
 10      Miami AKT studio closed. Instead, Junk stated it was the result of bad
 11
         management, and then stated “there are no bad locations, just bad operators.”
 12
 13 370. Paul and Jodi were induced to agree to reopen and operate the Miami AKT
 14      franchise studio based on the representations of Chordock, Junk, Johnston, and
 15
         Svilich.
 16
 17   371. Paul and Jodi reasonably relied on the representations regarding the
 18      membership base at the Miami studio in agreeing to reopen the studio and in
 19
         executing a lease at the studio location.
 20
 21   372. Chordock, Junk, Johnston, and Svilich knew at the time they made the
 22      representations about the Miami studio members that they were false. In reality,
 23
         AKT Franchisor had “frozen” the members’ membership charges and
 24
 25      automatically began to charge them fees when Paul and Jodi reopened the studio.
 26      They did this so that members would not show as “canceled” to Paul and Jodi.
 27
 28

                                              122
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 123 of 143 Page ID
                                  #:3835



  1 373. Contrary to the representations of Chordock, Junk, Johnston, and Svilich,
  2      most of the members demanded refunds and threatened legal action against Paul
  3
         and Jodi, asserting they were being charged for memberships without their
  4
  5      consent. Paul and Jodi discovered that nearly half of the studio’s former

  6      members were sent to collections by AKT Franchisor and Club Ready for
  7
         monthly fees of $15 that AKT Franchisor continued to charge these members
  8
  9      after the AKT Miami studio originally closed.

 10 374. Defendants left Paul and Jodi to manage the ensuing fallout, with one
 11
       member spitting into Jodi’s face and saying they were “thieves” who should
 12
 13    “burn in hell,” a far cry from the eager members Defendants represented were
 14      awaiting Paul and Jodi at the AKT Miami studio.
 15
      375. Paul and Jodi were damaged as a result of Defendants’ fraudulent
 16
 17      misrepresentation, having committed to signing a lease as well as infusing
 18      significant capital (more than $225,000) and time into the Miami studio at a time
 19
         when they were attempting to also keep operating three additional studios.
 20
 21   376. The loss of funds and time ultimately caused Paul and Jodi to close not only
 22      the Miami studio after scarcely eight months, but their remaining three studios
 23
         in Southeast Florida as well, resulting in losses of more than $2 million.
 24
 25   377. As a result of the misrepresentations, Paul and Jodi were forced to file for
 26      bankruptcy.
 27
 28

                                              123
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 124 of 143 Page ID
                                  #:3836



  1 378.     Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or

  2      indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
  3
         Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
  4
  5      similar status or performing similar functions, or 3) one who materially aided in

  6     the act or transaction that constituted a violation under the CFIL. They are
  7
        therefore jointly and severally liable for the CFIL violations described above.
  8
  9     Specifically:

 10            a. Xponential is the direct parent and sole member of AKT Franchisor,
 11
                  and therefore directly controls AKT Franchisor.
 12
 13            b. Xpo Holdings is the direct parent and sole member of Xponential and
 14               therefore indirectly controls AKT Franchisor.
 15
               c. As Xpo Inc. states in its public filings with the U.S. Securities and
 16
 17               Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 18               business and control[s] the strategic decisions and day-to-day
 19
                  operations of [Xponential] through [its] ownership of Xpo Holdings .
 20
 21               . . .” Xpo Inc. indirectly controls AKT Franchisor.
 22            d. Geisler and Grabowski indirectly control AKT Franchisor through
 23
                  their ownership interests and/or rights guaranteed in governing
 24
 25               documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
 26               Investco LP, H&W Investco II LP, and the general partner of H&W
 27
                  Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
 28

                                             124
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 125 of 143 Page ID
                                  #:3837



  1              Mark Grabowski Anthony Geisler). These intermediary entities

  2              (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
  3
                 indirectly control AKT Franchisor.
  4
  5           e. Geisler directly controls AKT Franchisor and is a principal executive

  6              officer and director of AKT Franchisor, Xpo Inc., and each of the rest
  7
                 of the Corporate Defendants, had knowledge of the facts constituting
  8
  9              CFIL violations, and materially aided in preparing, distributing, and

 10              discussing the FDDs containing material omissions.
 11
              f. Grabowski directly controls AKT Franchisor and is a principal
 12
 13              executive officer of AKT Franchisor, and director of Xpo Inc. and each
 14              of the rest of the Corporate Defendants.
 15
              g. Morris is a director of Xpo Inc. and has been since May 2019.
 16
 17           h. Chordock, President of AKT Franchisor, was a principal executive
 18              officer of AKT Franchisor.
 19
              i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 20
 21              principal executive officer of the Corporate Defendants.
 22           j. Moen, Executive Vice President of Finance of the Corporate
 23
                 Defendants, was a principal executive officer of the Corporate
 24
 25              Defendants.
 26           k. Meloun, Chief Financial Officer of the Corporate Defendants, was a
 27
                 principal executive officer of the Corporate Defendants.
 28

                                           125
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 126 of 143 Page ID
                                  #:3838



  1             l. Luna, the President of Xponential, was a principal executive officer of

  2                the Corporate Defendants.
  3
                m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal
  4
  5                executive officer of AKT Franchisor, and directly participated in the

  6                CFIL violations described herein.
  7
                n. Svilich, Vice President of Operations of AKT, performed the functions
  8
  9                of a principal executive officer of AKT Franchisor, and directly

 10                participated in the CFIL violations described herein.
 11
      379.    AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 12
 13      the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 14      SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 15
      380. Paul and Jodi are entitled to attorney fees and costs pursuant to the parties’
 16
 17      other contracts and the CFIL.
 18
                             FIFTEENTH CAUSE OF ACTION
 19
 20          VIOLATION OF CFIL § 31119: SALE OF FRANCHISE WITHOUT
                                PROVIDING FDD
 21
 22   (Paul and Jodi against AKT Franchisor, AKT Franchisor SPV, XPOF Assetco,
        LLC, Xponential, Xpo Holdings, Xpo Inc., Lag Fit, Inc., H&W Investco LP,
 23     H&W Investco II LP, MGAG, LLC, Geisler, Grabowski, Morris, Chordock,
 24            Junk, Moen, Meloun, Luna, Johnston, Svilich, and Nolan)
 25
      381. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 26
 27      as if fully restated herein.
 28

                                               126
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 127 of 143 Page ID
                                  #:3839



  1 382. AKT Franchisor offered and sold the Miami AKT franchise to Paul and Jodi
  2      without ever providing an FDD.
  3
      383. AKT Franchisor and Paul and Jodi entered into an agreement whereby Paul
  4
  5      and Jodi would own and operate the Miami franchise studio with the promise

  6      that it was a high performing, turn-key studio.
  7
      384. Paul and Jodi agreed to divert attention from their other AKT franchise studio
  8
  9      and to commit to a long-term lease and an additional couple hundred thousand

 10      dollars in exchange for the right to operate the studio, together with promised
 11
         financial and operational support from AKT Franchisor.
 12
 13 385. AKT Franchisor’s solicitation of Paul and Jodi was an offer to sell a
 14      franchise, and the ultimate deal consummated was a sale of a franchise.
 15
      386. AKT Franchisor, Chordock, Junk, Johnston, and Svilich violated CFIL §
 16
 17      31119 by failing to first provide an FDD to Paul and Jodi.
 18 387. Paul, and Jodi are entitled to damages and rescission under the CFIL, plus
 19
       attorney fees and costs as provided by the CFIL.
 20
 21 388.     Pursuant to CFIL § 31302, each of the Defendants is: 1) a person directly or
 22      indirectly controlling AKT Franchisor, 2) a principal executive officer of AKT
 23
         Franchisor or a person indirectly controlling AKT Franchisor, or occupying a
 24
 25      similar status or performing similar functions, or 3) one who materially aided in
 26      the act or transaction that constituted a violation under the CFIL. They are
 27
 28

                                              127
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 128 of 143 Page ID
                                  #:3840



  1     therefore jointly and severally liable for the CFIL violations described above.

  2     Specifically:
  3
              a. Xponential is the direct parent and sole member of AKT Franchisor,
  4
  5              and therefore directly controls AKT Franchisor.

  6           b. Xpo Holdings is the direct parent and sole member of Xponential and
  7
                 therefore indirectly controls AKT Franchisor.
  8
  9           c. As Xpo Inc. states in its public filings with the U.S. Securities and

 10              Exchange Commission, Xpo Inc. “manage[s] and operate[s] the
 11
                 business and control[s] the strategic decisions and day-to-day
 12
 13              operations of [Xponential] through [its] ownership of Xpo Holdings .
 14              . . .” Xpo Inc. indirectly controls AKT Franchisor.
 15
              d. Geisler and Grabowski indirectly control AKT Franchisor through
 16
 17              their ownership interests and/or rights guaranteed in governing
 18              documents of LAG Fit, Inc. (owned solely by Anthony Geisler), H&W
 19
                 Investco LP, H&W Investco II LP, and the general partner of H&W
 20
 21              Investco LP and H&W Investco II LP, MGAG LLC (abbreviating for
 22              Mark Grabowski Anthony Geisler). These intermediary entities
 23
                 (H&W Investco LP, H&W Investco II LP, and MGAG, LLC) similarly
 24
 25              indirectly control AKT Franchisor.
 26           e. Geisler directly controls AKT Franchisor and is a principal executive
 27
                 officer and director of AKT Franchisor, Xpo Inc., and each of the rest
 28

                                            128
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 129 of 143 Page ID
                                  #:3841



  1              of the Corporate Defendants, had knowledge of the facts constituting

  2              CFIL violations, and materially aided in preparing, distributing, and
  3
                 discussing the FDDs containing material omissions.
  4
  5           f. Grabowski directly controls AKT Franchisor and is a principal

  6              executive officer of AKT Franchisor, and director of Xpo Inc. and each
  7
                 of the rest of the Corporate Defendants.
  8
  9           g. Morris is a director of Xpo Inc. and has been since May 2019.

 10           h. Chordock, President of AKT Franchisor, was a principal executive
 11
                 officer of AKT Franchisor.
 12
 13           i. Junk, Chief Operating Officer of the Corporate Defendants, was a
 14              principal executive officer of the Corporate Defendants, and directly
 15
                 and materially participated in the violation.
 16
 17           j. Moen, Executive Vice President of Finance of the Corporate
 18              Defendants, was a principal executive officer of the Corporate
 19
                 Defendants.
 20
 21           k. Meloun, Chief Financial Officer of the Corporate Defendants, was a
 22              principal executive officer of the Corporate Defendants.
 23
              l. Luna, the President of Xponential, was a principal executive officer of
 24
 25              the Corporate Defendants.
 26
 27
 28

                                             129
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 130 of 143 Page ID
                                  #:3842



  1             m. Johnston, Chief Marketing Officer of AKT Franchisor, was a principal

  2                executive officer of AKT Franchisor, and directly participated in the
  3
                   CFIL violations described herein.
  4
  5             n. Svilich, Vice President of Operations of AKT, performed the functions

  6                of a principal executive officer of AKT Franchisor, and directly
  7
                   participated in the CFIL violations described herein.
  8
  9             o. Nolan, Operations Manager of Xpo Inc., provided the franchise

 10                agreement to execute without providing an FDD.
 11
      389. AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 12
 13      the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 14      SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 15
 16                            SIXTEENTH CAUSE OF ACTION

 17     VIOLATION OF THE FLORIDA FRANCHISE ACT: INTENTIONAL
 18       MISREPRESENTATIONS REGARDING THE PROSPECTS OR
           CHANCES FOR SUCCESS OF A PROPOSED OR EXISTING
 19      FRANCHISE AND INTENTIONAL MISREPRESENTATION AND
 20    OMISSION OF THE KNOWN REQUIRED TOTAL INVESTMENT FOR
                        THE MIAMI FRANCHISE
 21
 22     (Paul and Jodi Against AKT Franchisor, AKT Franchisor SPV, Chordock,
 23                               Junk, Johnston, and Svilich)
 24
 25 390. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 26      as if fully restated herein.
 27
 28

                                              130
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 131 of 143 Page ID
                                  #:3843



  1 391. Section 2 of the Florida Franchise Act (“FFA”) (Fl. Stat. § 817.416 et seq.)
  2      prohibits, in the sale of a franchise, the intentional misrepresentation of “the
  3
         prospects or chances for success of a proposed or existing franchise” and the
  4
  5      intentional misrepresentation or failure to disclose “the known required total

  6      investment for such franchise.”
  7
      392. AKT Franchisor, Chordock, Junk, Johnston, and Svilich made the
  8
  9      misrepresentations identified in Count XIII (Fraudulent Misrepresentation)

 10      without reasonable grounds for believing them to be true and with the intent to
 11
         induce Paul and Jodi to reopen the Miami AKT studio.
 12
 13 393. AKT Franchisor, Chordock, Junk, Johnston, and Svilich all represented that
 14      the AKT Miami studio would be immediately successful when reopened because
 15
         it had a large and loyal member base ready to engage.
 16
 17 394. AKT Franchisor, Chordock, Junk, Johnston, and Svilich represented that the
 18      AKT Miami studio was a no-brainer and would require minimal investment.
 19
      395. AKT Franchisor, Chordock, Junk, Johnston, and Svilich knew that the AKT
 20
 21      Miami studio would require extensive investment despite the fact that the
 22      buildout was complete, and knew that the required total investment would cost
 23
         several hundred thousand dollars, including large investments in marketing and
 24
 25      advertising to build a member base that they knew was unlikely to return.
 26   396. AKT Franchisor, Chordock, Junk, Johnston, and Svilich knew that that the
 27
         former Miami franchisees were presently suing AKT Franchisor, Chordock,
 28

                                             131
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 132 of 143 Page ID
                                  #:3844



  1      Johnston, Geisler, and several other individuals associated with AKT Franchisor

  2      and Xponential, asserting that the AKT Miami studio could not succeed because
  3
         the number of members AKT Franchisor personnel represented would be
  4
  5      achieved was not achieved.

  6 397. AKT Franchisor, Chordock, Junk, Johnston, and Svilich did not disclose
  7
       these facts to Paul and Jodi.
  8
  9 398. The intentional misrepresentations by AKT Franchisor, Chordock, Junk,
 10      Johnston, and Svilich of the prospects of success of the AKT Miami studio and
 11
         the misrepresentations about the total investment that would be required for the
 12
 13      studio are violations of the FFA.
 14 399. AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 15
       the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 16
 17    SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 18 400. Pursuant to the FFA, Paul and Jodi are entitled to damages, as well as attorney
 19
       fees and costs, in an amount to be determined at trial.
 20
 21                          SEVENTEENTH CAUSE OF ACTION
 22                                 BREACH OF CONTRACT
 23         (Paul and Jodi Against AKT Franchisor and AKT Franchisor SPV)
 24
 25 401. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 26      as if fully restated herein.
 27
 28

                                             132
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 133 of 143 Page ID
                                  #:3845



  1 402. AKT Franchisor agreed to secure for Paul and Jodi $250,000 in funding in
  2      exchange for Paul and Jodi agreeing to reopen the AKT studio in Miami that had
  3
         recently closed, and take all necessary steps to do so, including executing a lease
  4
  5      at the studio’s premises.

  6 403. The parties agreed that $150,000 of the funding would come from an
  7
       equipment lease back and another $100,000 would come from bridge financing
  8
  9    from Xponential Inc.’s initial public offering.

 10 404. Based on this agreement, Paul and Jodi took the necessary steps to the Miami
 11
       franchise location.
 12
 13 405. Paul and Jodi executed a lease for the premises at which the former Miami
 14      AKT studio operated and began paying rent.
 15
      406. Less than two weeks later, AKT Franchisor breached the agreement when it
 16
 17      informed Paul and Jodi that it was reneging on providing the $100,000 promised
 18      bridge loan.
 19
      407. Around the same time, AKT Franchisor again breached the agreement by
 20
 21      notifying Paul and Jodi that they “don’t do [the equipment leases] anymore” and
 22      would not be providing any of the promised $250,000 funding.
 23
      408. Nevertheless, having breached its agreement, AKT Franchisor, through
 24
 25      Chordock and others, placed constant, heavy pressure on Paul and Jodi to reopen
 26      the Miami studio as soon as possible, telling them to focus on Miami instead of
 27
         their Coral Springs location.
 28

                                              133
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 134 of 143 Page ID
                                  #:3846



  1 409. At all times, Paul and Jodi performed under their agreement to reopen the
  2      Miami AKT studio, re-opening the studio in an impressive seven weeks, despite
  3
         AKT Franchisor’s breach.
  4
  5 410. AKT Franchisor’s breach of agreement damaged Paul and Jodi in an amount
  6      to be determined at trial, including loss of significant investment into the studio
  7
         and damages caused by diverting attention and funds from their Coral Springs
  8
  9      location to the Miami location.

 10 411. AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 11
       the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 12
 13    SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 14 412. Paul and Jodi are entitled to attorney fees and costs pursuant to the parties’
 15
       other contracts.
 16
 17                         EIGHTEENTH CAUSE OF ACTION
 18                               PROMISSORY ESTOPPEL
 19         (Paul and Jodi Against AKT Franchisor and AKT Franchisor SPV)
 20
 21 413. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 22      as if fully restated herein.
 23
      414. AKT Franchisor promised Paul and Jodi that they would secure $250,000 for
 24
 25      the operation of the AKT Miami studio, with $150,000 coming from an
 26      equipment lease back and another $100,000 coming from bridge financing from
 27
         Xponential Inc.’s initial public offering.
 28

                                               134
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 135 of 143 Page ID
                                  #:3847



  1 415. AKT Franchisor intended to thereby induce Paul and Jodi to reopen the AKT
  2      Miami studio.
  3
      416. Paul and Jodi were induced to act to their detriment, signing a lease for the
  4
  5      location of the AKT Miami studio, investing substantial time and money into its

  6      reopening and operation, and ultimately being forced to close all three of their
  7
         other AKT studios and seek bankruptcy protection.
  8
  9 417. Injustice can only be avoided by enforcing the promise and compensating
 10      Paul and Jodi for the damages caused by AKT Franchisor reneging on its
 11
         promises.
 12
 13   418.   AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
 14      the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor
 15
         SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
 16
 17                         NINETEENTH CAUSE OF ACTION
 18      VIOLATION OF FLORIDA DECEPTIVE AND UNFAIR TRADE
 19   PRACTICES ACT: FAILURE TO PROVIDE FDD IN OFFER AND SALE
                           OF FRANCHISE
 20
 21               (Paul and Jodi Against AKT Franchisor, AKT Franchisor SPV,
                          Chordock, Junk, Johnston, and Svilich)
 22
 23 419. Plaintiffs incorporate the allegations contained in the preceding paragraphs
 24      as if fully restated herein.
 25
 26
 27
 28

                                             135
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 136 of 143 Page ID
                                  #:3848



  1 420. At the AKT convention in December 2021, AKT Franchisor, Chordock,
  2      Junk, Johnston, and Svilich offered and sold an AKT franchise (the old Miami
  3
         franchise studio) to Paul and Jodi.
  4
  5 421. Prior to the sale of the Miami franchise, AKT Franchisor never provided a
  6      franchise disclosure document to Paul and Jodi.
  7
      422. Failure to provide a franchise disclosure document that complies with the
  8
  9      FTC Franchise Rule is an unfair and deceptive trade practice under Section 5 of

 10      the Federal Trade Commission Act (15 U.S.C. § 45(a)) (“FTCA”).
 11
      423. An unfair and deceptive trade practice under the FTCA is a deceptive or
 12
 13      unfair practice under the Florida Deceptive and Unfair Trade Practices Act
 14      (“FDUTPA”).
 15
      424. AKT Franchisor’s failure to provide a franchise disclosure document that
 16
 17      complies with the FTC Franchise Rule caused Paul and Jodi to agree to reopen
 18      the AKT Miami studio, commit to a lease at the studio location, and invest
 19
         significant money and time into the studio.
 20
 21   425. Paul and Jodi were damaged as a result of AKT Franchisor’s failure, losing
 22      more than two million dollars and, ultimately, having to close their three
 23
         additional studios and file for bankruptcy.
 24
 25   426. Chordock, Junk, Johnston, and Svilich each actively and directly participated
 26      in the selling of the AKT Miami franchise without issuing a franchise disclosure
 27
 28

                                               136
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 137 of 143 Page ID
                                  #:3849



  1      document, when each knew they were required to provide the document prior to

  2      selling the franchise. They are therefore liable under the FDUTPA.
  3
      427.   AKT Franchisor SPV, a mere continuation of AKT Franchisor, is liable for
  4
  5      the actions of AKT Franchisor, and XPOF Assetco, LLC, AKT Franchisor

  6      SPV’s sole member, controls it and is therefore similarly liable under the CFIL.
  7
  8                                 PRAYER FOR RELIEF

  9
             WHEREFORE, PLAINTIFFS REQUEST that this Court enter an award in
 10
 11 favor of Plaintiffs and against Defendants as follows:
 12      A. As to the First Cause of Action:
 13
               i.   Enter a declaratory judgment ruling that the Arbitration Provisions
 14
 15                 contained in the Agreements are unenforceable, and permanently
 16                 enjoining Defendants from filing any arbitration demand against
 17
                    Plaintiffs;
 18
 19           ii.   Award Plaintiffs their attorney fees and costs in bringing this action to
 20                 enjoin enforcement of the unenforceable Arbitration Provisions; and
 21
             iii.   Award such other relief as the Court deems just and proper.
 22
 23      B. As to the Second Cause of Action, Third Cause of Action, Fifth Cause of
 24          Action, Sixth Cause of Action, Seventh Cause of Action, and Eighth
 25
             Cause of Action:
 26
 27
 28

                                               137
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 138 of 143 Page ID
                                  #:3850



  1           i.   Order the Agreements rescinded and all provisions therein void and

  2                unenforceable;
  3
             ii.   Award rescission, actual, expectation, consequential, punitive, and/or
  4
  5                reliance damages to Plaintiffs (except Property Maintenance, Inc.) in

  6                an amount to be proven at trial;
  7
  8         iii.   Award attorney fees, costs, interest, and other amounts provided for by

  9                the CFIL, contract, and common law; and
 10
            iv.    Award any such additional relief this Court deems just and proper.
 11
 12     C. As to the Fourth Cause of Action:

 13
              i.   Order the respective Agreements rescinded and all provisions therein
 14
                   void and unenforceable;
 15
 16          ii.   Award rescission, expectation, consequential, and/or punitive damages
 17
                   to Paul and Jodi and against AKT Franchisor, AKT Franchisor SPV,
 18
 19                Geisler, Freeman, and Chordock in an amount to be proven at trial;
 20
            iii.   Award attorney fees, costs, interest, and other amounts provided for by
 21
 22                statute, contract, and common law; and
 23         iv.    Award any such additional relief the Court deems just and proper.
 24
        D. As to the Ninth Cause of Action:
 25
 26
 27
 28

                                              138
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 139 of 143 Page ID
                                  #:3851



  1           i.   Order the respective Agreements of Plaintiffs Mason Franchisee,

  2                Nisha, Tampa Franchisee, Paul and Jodi, and Laura rescinded and all
  3
                   provisions therein void and unenforceable;
  4
  5          ii.   Award rescission, expectation, consequential, and/or punitive damages
  6
                   to Mason Franchisee, Nisha, Tampa Franchisee, Paul and Jodi, and
  7
  8                Laura in an amount to be proven at trial;

  9
            iii.   Award attorney fees, costs, interest, and other amounts provided for by
 10
                   statute, contract, and common law; and
 11
 12         iv.    Award any such additional relief the Court deems just and proper.
 13
        E. As to the Tenth Cause of Action:
 14
 15           i.   Order the Agreements of Plaintiffs East Florida Franchisee, Paul, Jodi,
 16                Tampa Franchisee, Nichole, Michael, Chicago Franchisee, and Nisha
 17
                   rescinded and all provisions therein void and unenforceable;
 18
 19          ii.   Award rescission, actual, expectation, consequential, punitive, and/or
 20                reliance damages to East Florida Franchisee, Paul, Jodi, Tampa
 21
                   Franchisee, Nichole, Michael, Chicago Franchisee, and Nisha in an
 22
 23                amount to be proven at trial;
 24
            iii.   Award attorney fees, costs, interest, and other amounts provided for by
 25
 26                the CFIL and common law; and
 27         iv.    Award any such additional relief this Court deems just and proper.
 28

                                              139
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 140 of 143 Page ID
                                  #:3852



  1     F. As to the Eleventh Cause of Action:

  2
              i.   Award rescission, expectation, consequential, and/or punitive damages
  3
                   to Franchisees in an amount to be proven at trial;
  4
  5          ii.   Award attorney fees, costs, interest, and other amounts provided for by
  6
                   the Franchise Agreement; and
  7
  8         iii.   Award any such additional relief the Court deems just and proper.
  9
        G. As to the Twelfth Cause of Action:
 10
              i.   Award rescission, actual, expectation, consequential, punitive, and/or
 11
 12                reliance damages to Deanna and Dance Fitness Michigan, LLC and
 13
                   against AKT Franchisor, AKT Franchisor SPV, Xponential, Xpo
 14
                   Holdings, Xpo Inc., Geisler, Chordock, Grabowski, Morris, Moen,
 15
 16                Losco, Johnston, and Wiles in an amount to be proven at trial;
 17
             ii.   Award attorney fees, costs, interest, and other amounts provided for by
 18
                   statute and common law; and
 19
 20         iii.   Award any such additional relief the Court deems just and proper.
 21
        H. As to the Thirteenth Cause of Action:
 22
 23          i.    Order the Agreements of Deanna and Dance Fitness Michigan
 24
             rescinded and all provisions therein void and unenforceable;
 25
 26
 27
 28

                                              140
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 141 of 143 Page ID
                                  #:3853



  1          ii.   Award rescission, actual, expectation, consequential, punitive, and/or

  2          reliance damages to Deanna and Dance Fitness Michigan in an amount to
  3
             be proven at trial;
  4
  5          iii. Award attorney fees, costs, interest, and other amounts provided for by

  6          the CFIL, contract, and common law; and
  7
             iv. Award any such additional relief this Court deems just and proper.
  8
  9     I. As to the Fourteenth Cause of Action and Fifteenth Cause of Action:

 10           i.   Award rescission, actual, expectation, consequential, punitive, and/or
 11
                   reliance damages to Paul and Jodi in an amount to be proven at trial;
 12
 13          ii.   Award attorney fees, costs, interest, and other amounts provided for by
 14                the CFIL, contract, and common law; and
 15
            iii.   Award any such additional relief this Court deems just and proper.
 16
 17     J. As to the Sixteenth Cause of Action:
 18
              i.   Award rescission, actual, expectation, consequential, punitive, and/or
 19
 20                reliance damages to Paul and Jodi in an amount to be proven at trial;

 21
             ii.   Award attorney fees, costs, interest, and other amounts provided for by
 22
 23                the FFA and common law; and

 24         iii.   Award any such additional relief the Court deems just and proper.
 25
        K. As to the Seventeenth Cause of Action and Eighteenth Cause of Action:
 26
 27
 28

                                              141
Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 142 of 143 Page ID
                                  #:3854



  1           i.   Order that any agreement associated with the AKT Miami studio

  2                between Paul and Jodi, and AKT Franchisor, rescinded and all
  3
                   provisions therein void and unenforceable;
  4
  5          ii.   Award rescission, expectation, consequential, and/or punitive damages
  6
                   to Paul and Jodi and against AKT Franchisor and AKT Franchisor SPV
  7
  8                in an amount to be proven at trial;

  9
            iii.   Award attorney fees, costs, interest, and other amounts provided for by
 10
                   agreement and applicable law; and
 11
 12         iv.    Award any such additional relief the Court deems just and proper.
 13
        L. As to the Nineteenth Cause of Action:
 14
 15           i.   Order that any agreement associated with the AKT Miami studio
 16                between Paul and Jodi, and AKT Franchisor, rescinded and all
 17
                   provisions therein void and unenforceable;
 18
 19          ii.   Award rescission, actual, expectation, consequential, punitive, and/or
 20
                   reliance damages to East Florida Franchisee, Paul, and Jodi and against
 21
 22                AKT Franchisor, AKT Franchisor SPV, Chordock, Junk, Johnston,
 23                and Svilich in an amount to be proven at trial;
 24
 25         iii.   Award attorney fees, costs, interest, and other amounts provided for by

 26                the FDUTPA and common law; and
 27
            iv.    Award any such additional relief the Court deems just and proper.
 28

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Case 8:23-cv-01643-JVS-JDE Document 62 Filed 11/20/23 Page 143 of 143 Page ID
                                  #:3855



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  2   Dated: November 20, 2023                 TRIO LAW PLC
  3
  4                                            By: /s/ Briar Siljander
                                               Briar Siljander (SBN 338293)
  5                                            TRIO LAW PLC
  6                                            376 Beach Farm Cir. #1269
                                               Highland, MI 48356
  7                                            (248) 529-6730
  8                                            briar@triolawplc.com
                                               Attorneys for Plaintiffs
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